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          EXHIBIT 104-B
         Redacted Version of
Document Sought to be Sealed
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Plaintiffs’ Co-Lead Counsel

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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      PLAINTIFFS’ MOTION FOR
                                               ADDITIONAL TIME TO CONDUCT
ALL ACTIONS                                    RULE 30(b)(6) DEPOSITIONS

                                               Judge: Hon. Vince Chhabria
                                               Special Master Daniel Garrie

                                               JAMS Ref. No.: 1200058674




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                                      I.     INTRODUCTION

         Plaintiffs seek an order (1) modifying the 70-hour time limit for Plaintiffs’ 30(b)(6)
deposition of Defendant Facebook on specific topics to permit Plaintiffs 50 hours total for all
remaining 30(b)(6) testimony; and (2) compelling the attendance of Facebook’s General Counsel
at all remaining 30(b)(6) depositions. This relief is required because the improper conduct of
Facebook, its 30(b)(6) designees, and its outside counsel have prevented Plaintiffs from
obtaining the complete testimony on key topics to which they are entitled. Facebook has refused
to provide the requested relief.

                                       II.    BACKGROUND

         The Special Master is well aware of the lengthy history of negotiations over, and
disruptions to the taking of, Facebook’s testimony under Rule 30(b)(6). In brief, Plaintiffs first
provided Facebook with their draft 30(b)(6) deposition notice on December 23, 2021, inviting
Facebook to confer. It didn’t. On March 1, 2022, Plaintiffs served the 30(b)(6) notice, which
included ten topics. Ex. A. On May 4, 2022, the parties agreed that Plaintiffs would have 21 total
hours to complete Topics 1-4 and 6-10. Ex. B. The next day, the deposition of designee Allison
Hendrix was repeatedly obstructed by defense counsel’s lengthy speaking objections,
instructions not to answer based on scope, and failure to prepare the witness to competently
testify. Plaintiffs sought sanctions to address Facebook’s misconduct, and the parties stipulated
to a protocol intended to prevent future disruptions. The parties also agreed to extend the
30(b)(6) time limit on Topics 1-4 and 6-10 to 70 hours, which would not include the time spent
deposing or re-deposing Ms. Hendrix. Ex. C.

        As of August 3, Facebook has been on the record for 67 hours and 18 minutes of 30(b)(6)
testimony on Topics 1-4 and 6-10, but testimony is not complete.1 Plaintiffs seek, and Facebook
has agreed to provide in part, additional testimony on Topics 2 (data made accessible), 6 (friend
sharing), 7 (whitelisting), 8 (tracking data), 9 (VPPA), and 10 (monetization), including
testimony from a witness Facebook has designated to testify about targeted advertising, which
cuts across several of these topics. All of that testimony is subject to the 70-hour limit. In
addition, the parties have scheduled testimony about Topic 5, and Plaintiffs seek additional
testimony about preservation and testimony about FTC complaints and consent orders.

          III.    FACEBOOK HAS WASTED SUBSTANTIAL DEPOSITION TIME

        Designation of Multiple Witnesses Has Required Additional Time: Facebook’s
designation of multiple representatives for single topics has required multiple depositions where
one should have sufficed. For example, Facebook designated 3 witnesses to address Topic 9
(VPPA) and 4 witnesses—Ms. Hendrix, Simon Cross, Chris Casorio, and Isabella Leone—to
address Topic 2 (data made accessible). Facebook also insisted on presenting distinct witnesses
on Targeted Advertising and Data Brokers, which are not themselves discretely noticed 30(b)(6)
topics. Instead, Facebook extracted those subjects from numerous topics, including Topics 2, 4,
8, and 9(b). Ex. D, E, F. Because each new witness requires time to ask background and

1
    This total overstates the on-the-record time, since the parties’ May 17 Stipulation provides that
    “[t]ime spent arguing about objections will not count against testimony time[.]”
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foundational questions, Facebook’s designations have substantially encroached on the time
allotted for 30(b)(6) testimony. Designating multiple witnesses also created confusion about
which witnesses would cover which topics, spawning further on-the-record discussions.

       Facebook failed to prepare designees: Facebook designees were often unprepared to
answer questions that were not merely within the scope of the noticed topics, but also identified
by Plaintiffs prior to the depositions. Considerable time was thus wasted on questions designees
were unprepared to answer and then on discussions of the designees’ knowledge and preparation.

        For example, Simon Cross, designated for parts of Topics 2 (data made accessible) and 8
(tracking data), and all of Topics 6 (friend sharing) and 7 (whitelisting), was unprepared to
address specific third parties that received access to friend information, Facebook’s revenue from
friend sharing and whitelisting, or various issues regarding private APIs. See Pls.’ Resp. filed
7/15/22 (“Cross Response”) at 4-6. Cross improperly referred Plaintiffs to other witnesses for
answers to questions within the scope of his topics, id. at 2, and often simply read documents
without being able to testify to Facebook’s intent or understanding. Ex. G at 481-83, 611-16.

       Mike Clark, designated for Topic 4 (pseudonymization, de-identification, association,
and deletion), wasted time refusing to testify about Facebook’s definition of “personal
information.” Ex. H at 218-226. The Special Master stated on the record that “how Facebook
defines personal information” is “a critical concept” for the entire case and encouraged Facebook
to produce another witness to provide Facebook’s definition. Id. at 241-45. David Miller,
designated on subtopic 9(c) (actions enabling users to access and share video content), was not
prepared to testify about changes in Facebook infrastructure designed to improve access to and
sharing of video content, e.g., Ex. I at 39-43, or to any investments Facebook made to facilitate
user access to, or sharing of, video content, id. at 42-43. And Michael Fahey, designated on
subtopic 9(a) (changes to video content and information over time), was not prepared to talk
about what caused video-watching and related metrics to change over time. Ex. J at 19-21.

       These are only examples, and Plaintiffs are happy to provide more at the Special Master’s
request. In sum, Facebook has routinely failed to fulfill its obligation to adequately educate its
designees so they were prepared to fully answer questions within the topics for which they were
designated. Bowoto v. ChevronTexaco Corp., 2006 WL 294799, at *1 (N.D. Cal. Feb. 7, 2006).

       Plaintiffs’ Identification of Documents and Explanations Have Not Solved the
Problems: Plaintiffs routinely provide Facebook with all intended deposition exhibits at least 3
days prior to each deposition. See ECF No. 789 ¶ 24. But Facebook’s designees often fail to
review the exhibits. Indeed, in just 5 transcripts—the first three days of Mr. Cross’s testimony on
Topics 6 and 7, Amy Lee’s testimony on Topic 10 (monetization), and Mr. Clark’s testimony on
Topic 4—Facebook’s designees stated 109 times that they were unfamiliar with an exhibit or had
not made any effort to learn about it.

       For example, although Plaintiffs’ repeatedly asked Facebook to ensure Ms. Lee was
prepared to testify about Onavo, Ex. K, she was not prepared to discuss it during her deposition.
Ex. L at 200-01. Similarly, although Plaintiffs specifically asked Facebook to prepare Mr. Cross
to address the Capabilities Tool, he was unprepared to answer at least 39 questions Plaintiffs
asked about it. Cross Response at Ex. B. And although Plaintiffs identified specific cookies they
intended to ask Mr. Clark about, he was unprepared to answer questions about them. Ex. H.
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        Plaintiffs have had to schedule numerous follow-up depositions to elicit testimony on
these and other previously identified topics. They’ve deposed Mr. Cross for 5 days, had to
depose a second designee on Topic 4 (pseudonymization, de-identification, association, and
deletion), will depose Ms. Lee for a second time on Topic 10 (monetization), and will depose a
second Topic 5 designee (Named Plaintiffs data). Though Facebook has cooperated in putting
these additional designees forward, the process of getting answers to Plaintiffs’ questions has
taken far longer than anticipated. These ongoing depositions also necessitate additional time.

        Facebook’s Counsel Exacerbated These Issues: Facebook’s counsel continue to object
to topics as outside the scope when a witness is unprepared to address questions within the scope
of the noticed topics. For example, Facebook’s counsel took the position that Topic 4 concerned
only the “deletion” of data, see Ex. M, a position flatly contradicted by the text of the notice. Id.
Facebook later offered a designee to address data association, but this incident wasted
considerable time and required a second day of testimony on the topic.

                                   IV.    RELIEF REQUESTED

        Extension of Cumulative Time Limit: Plaintiffs require an extension of the time limit
for the 30(b)(6) deposition of Facebook. See Fed. R. Civ. P. 30(d)(1) (“The court must allow
additional time . . . if needed to fairly examine the deponent or if the deponent, another person,
or any other circumstance impedes or delays the examination.”). This time will be required to
obtain testimony on the outstanding 30(b)(6) topics Plaintiffs have noticed. There are two topics
on which Facebook has not offered testimony: (i) FTC complaints and consent orders; and (ii)
Targeted advertising – extracted by Facebook from Topics 2, 4, 6, 8 and 9(b). Plaintiffs also
require additional testimony on the following topics: (i) Named Plaintiff Data – Topic 5; (ii)
VPPA – Topic 9; (iii) Monetization – Topic 10; (iv) ADI – Topic 2; and (v) Preservation.2

        In order to simplify timekeeping, Plaintiffs believe it will be easier to start the clock over
and provide Plaintiffs 50 hours from this date forward for all 30(b)(6) testimony. Plaintiffs
expect this will be sufficient to complete the remaining depositions provided that, going forward,
designees are appropriately prepared and counsel minimize on-the-record distractions.

        Attendance of Facebook’s General Counsel: During the July 26, 2022 case
management conference, Judge Chhabria suggested ordering “Facebook’s general counsel to be
at every 30(b)(6) deposition” to avoid continued problems “with Facebook’s witnesses not being
prepare[d] to answer questions that they were on notice[] that they needed to answer or not being
familiar with documents that they were on notice that they needed to answer questions about.”
Ex. N. Because Facebook’s conduct has repeatedly wasted the on (and off) the record time of
both the parties and the Special Master, and because it is reasonable to expect that the proposed
relief might substantially improve the efficiency of further depositions, Plaintiffs seek an order
compelling the attendance of Facebook’s General Counsel at all future 30(b)(6) depositions. See
generally Hall v. Clifton Precision, Div. of Litton Sys., Inc., 150 F.R.D. 525, 527 (E.D. Pa. 1993)
(“Taken together, Rules 26(f), 30, and 37(a), along with Rule 16, . . . vest the court with broad
authority and discretion to control discovery, including the conduct of depositions.”).


2
    Plaintiffs also reserve the right to obtain additional testimony from Simon Cross on Topics 2, 6,
    7, and 8 depending on the resolution of the pending dispute regarding written questions.
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Dated: August 3, 2022                                  Respectfully submitted,


KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

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       Derek W. Loeser                                           Lesley E. Weaver

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CONDUCT RULE 30(B)(6) DEPS.                                                CASE NO. 18-MD-02843-VC
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Additional counsel listed on signature page


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC


This document relates to:                            DECLARATION OF CARI
                                                     LAUFENBERG IN SUPPORT OF
ALL ACTIONS                                          PLAINTIFFS’ MOTION FOR
                                                     ADDITIONAL TIME TO CONDUCT
                                                     RULE 30(b)(6) DEPOSITIONS

                                                     Judge: Hon. Vince Chhabria
                                                     Special Master Daniel Garrie

                                                     JAMS Ref. No.: 1200058674


       I, Cari Laufenberg, declare and state as follows:

       1.      I am a partner at the law firm of Keller Rohrback L.L.P. and am counsel for

Plaintiffs in the above-captioned matter.

       2.      I have personal knowledge of the facts set forth herein and, if called as a witness,

could and would testify competently to them.

       3.      Attached as Exhibit A is a true and correct copy of excerpts from Plaintiffs’

Second Amended Notice of Deposition of Defendant Facebook, Inc. Pursuant to Federal Rule of
Civil Procedure 30(b)(6), which was served on March 1, 2022.


LAUFENBERG DECLARATION                           1                                     MDL NO. 2843
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       4.      Attached as Exhibit B is a true and correct copy of the email from R. Blume,

Attorney, Gibson, Dunn & Crutcher, LLP, to C. Laufenberg, Attorney, Keller Rohrback L.L.P. et

al. (May 4, 2022, 5:58 PM).

       5.      Attached as Exhibit C is a true and correct copy of a highlighted excerpt from the

parties’ Mediation Tracker (May 9, 2022).

       6.      Attached as Exhibit D is a true and correct copy of the letter from M. Melamed,

Attorney, Bleichmar Fonti & Auld LLP, to A. Aycock, Attorney, Gibson, Dunn & Crutcher LLP

(July 15, 2022).

       7.      Attached as Exhibit E is a true and correct copy of the letter from A. Schwing,

Attorney, Gibson, Dunn & Crutcher LLP, to L. Weaver, Attorney, Bleichmar Fonti & Auld LLP,

& D. Loeser, Attorney, Keller Rohrback L.L.P. (May 28, 2022).

       8.      Attached as Exhibit F is a true and correct copy of excerpts from the email from

A. Schwing, Attorney, Gibson, Dunn & Crutcher LLP, to A. Daniel, Attorney, Keller Rohrback

L.L.P. et al. (July 6, 2022, 7:30 PM).

       9.      Attached as Exhibit G is a true and correct copy of excerpts from the Deposition

of Simon Cross 30(b)(6) Corporate Representative, Facebook, Inc. (May 9, 2022).

       10.     Attached as Exhibit H is a true and correct copy of excerpts from the Deposition

of Facebook’s 30(b)(6) Corporate Representative – Michael Patrick Clark (May 18, 2022).

       11.     Attached as Exhibit I is a true and correct copy of excerpts from the Deposition of

Facebook’s 30(b)(6) Corporate Representative - David Miller (July 22, 2022).

       12.     Attached as Exhibit J is a true and correct copy of excerpts from the Deposition of

Facebook’s 30(b)(6) Corporate Representative - Michael Fahey (July 21, 2022).

       13.     Attached as Exhibit K is a true and correct copy of excerpts from the email from

L. Weaver, Attorney, Bleichmar Fonti & Auld LLP, to M. Kutscher Clark, Attorney, Gibson,

Dunn & Crutcher LLP et al. (May 16, 2022, 9:56 AM).

       14.     Attached as Exhibit L is a true and correct copy of excerpts from the Deposition
of Facebook’s 30(b)(6) Corporate Representative - Amy Lee (May 19, 2022).


LAUFENBERG DECLARATION                          2                                    MDL NO. 2843
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         15.      Attached as Exhibit M is a true and correct copy of the letter from J. Samra,

Attorney, Bleichmar Fonti & Auld, LLP, to M. Kutscher Clark, Attorney, Gibson, Dunn &

Crutcher LLP et al. (June 17, 2022).

         16.      Attached as Exhibit N is a true and correct copy of excerpts from the transcript of

the Case Management Conference hearing before Judge Chhabria (July 26, 2022).



         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and to the best of my knowledge.



         Dated August 3, 2022.




                                                By:
                                                Cari Campen Laufenberg




4871-4640-1325, v. 3




LAUFENBERG DECLARATION                             3                                    MDL NO. 2843
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                  Exhibit A
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Plaintiffs’ Co-Lead Counsel

Additional counsel listed on signature page


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC


This document relates to:                            PLAINTIFFS’ SECOND AMENDED
                                                     NOTICE OF DEPOSITION OF
ALL ACTIONS                                          DEFENDANT FACEBOOK, INC.
                                                     PURSUANT TO FEDERAL RULE OF
                                                     CIVIL PROCEDURE 30(b)(6)


       TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT under Federal Rules of Civil Procedure 26 and

30(b)(6), Plaintiffs, by their counsel, will take the deposition of Defendant Facebook, Inc.

(“Facebook”), on dates and at times to be determined by the parties. Please take notice that due

to the disruptions to travel and accompanying shelter-in-place orders caused by the COVID-19

outbreak, the deposition of Facebook will occur via remote means on and will be coordinated by

Veritext Legal Solutions, with a business address at 101 Montgomery St., Suite 450, San

Francisco, CA 94104. Contact Veritext’s calendar team at ahenderson@veritext.com to retrieve

the necessary credentials to access the remote deposition, as well as information related to any

technical assistance you may require to assist with carrying out the virtual deposition.

Alternatively, if circumstances permit and the parties agree, the matter may be taken in whole or

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part in-person and virtually. Those who wish to appear in the physical presence of another do so

at their own election; however, this noticing party is not requiring the in-person physical

attendance of counsel, the witness or any other party to this action.

       The deposition will be taken before a person authorized by law to administer oaths under

Federal Rules of Civil Procedure 28(a) and shall continue from one day to the next, excluding

Sundays and holidays, until the examination is completed.

       Pursuant to Rule 30(b)(6), Defendant is hereby notified of its duty to designate one or

more officers, directors, managing agents or other persons most knowledgeable or qualified to

testify on its behalf concerning the matters set forth below. Each such designee produced to

testify has an affirmative duty to have first reviewed all Documents, reports, and other matters

known or reasonably known or available to Facebook and to familiarize himself or herself with

all potential witnesses known or reasonably available to provide informed, binding answers at

the deposition. Defendant Facebook shall inform Plaintiffs of such designations(s) at a

reasonable time prior to the deposition(s), but no later than 7 days before the deposition(s), by

setting forth the identity of the person(s) designated to testify with respect to the matters

specified below. The deposition will continue on the day noticed and for additional days, if

necessary, excluding Sundays and holidays, until completed.

       Under Federal Rules of Civil Procedure 30(b)(2) and 34, Defendant is requested to

produce the documents responsive to the requests listed on Schedule B no fewer than five days

before the deposition is to take place.

       Plaintiffs reserve the right to notice and conduct additional Rule 30(b)(6) depositions of

Defendant on separate, non-duplicative topics.

       NOTICE IS FURTHER GIVEN that Plaintiffs reserve the right to conduct this


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                                          SCHEDULE A

  I.    DEFINITIONS AND RULES OF CONSTRUCTION

        In the event of any conflict or ambiguity between the following definitions, common

usage and reference to any cited rules, statutes, or regulations should be used to provide the

broadest interpretation of the term in question.

        1.     “API” refers to an application programming interface.

        2.     “App” means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        3.     “App Developer” refers to any person or company that develops an App, software

experience, game, plugin, or website that accesses User Data from Facebook’s APIs or other

Facebook software.

        4.     “App Publisher” refers to any person or company who publishes an App on

Facebook’s platform.

        5.     “App Settings” means the selectors on the Facebook App that purported to allow

Facebook Users to prevent their Content and Information from being shared with applications.

See SACC ¶¶ 310-321.

        6.     “Business Plan” means any plan created or prepared by Facebook regarding

Facebook’s historical and future business strategy, including but not limited to Facebook’s

historical and future operations, and Facebook’s historical and future financial positions.

        7.     “Communication” means any contact, oral or documentary, formal or informal, at

any time or place or under any circumstances whatsoever, whereby information of any nature is

transmitted or transferred, including correspondence, and references to notes, letters,

memorandum, e-mail, reports, or any other document by which information is passed or


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conveyed from one individual or entity to another.

       8.      “Computer System” or “Computer Systems” include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or Databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

       9.      “Content and Information” refers to the definition in footnote 2 of the Second

Amended Consolidated Complaint (“SACC”), referring to “content” and “information” as

Facebook’s Statements of Rights and Responsibilities have defined those terms. In brief,

Facebook has generally used “information” to mean facts and other information about Users,

including the actions they take, and “content” to mean anything Users post on Facebook that

would not be included in the definition of “information.” Content and Information also includes

both personally identifiable user data and anonymized Data or information that is capable of

being de-anonymized. See SACC ¶¶ 263-264. Content and Information includes but is not

limited to Personal Information.

       10.     “Data” or “Information” refers to Personal Information, Content and Information,

and Data collected and derived about Users, including information ordered relevant in the

Court’s October 29, 2020 Order, Dkt. No. 557 (“Discovery Order No. 9”), which defines the

discoverable User Data at issue in this case to include “Data collected from a user’s on-platform

activity; Data obtained from third parties regarding a user’s off-platform activities; and Data

inferred from a user’s on or off-platform activity.”

       11.     “Data Brokers” refer to companies that specialize in collecting personal Data or

Data about companies, mostly from public records but sometimes sourced privately, and selling


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or licensing such information to third parties for a variety of uses.

       12.     “Default” means the Privacy Setting or App Setting that Facebook selected for

Users, and which required Users to take affirmative steps to change.

       13.      “Document(s)” includes any data, document, ESI, or electronic media stored in

any medium and is synonymous in meaning and equal in scope to the usage of this term in

Federal Rule of Civil Procedure 34 and Federal Rules of Evidence 101(4)(6), and 1101,

including, but not limited to programming source code, electronic or computerized data

compilations, any writing, drawing, graph, chart, photography, phonorecord, Communications,

electronic chats, instant messaging (including ephemeral ones), encrypted or self-destructing

messages, email Communications, notebooks, diaries, reports, logs, digitally encoded Data,

Database, graphic, other electronically stored information from Personal computers, sound

recordings, photographs, hard copy Documents. and/or other Data compilations from which

information can be obtained, translated if necessary, by the respondent through detection devices

into reasonably usable form, or other information, including originals, translations and drafts

thereof, and all copies bearing notations and marks not found on the original. The term

“Document” further means any document now or at any time in the possession, custody, or

control of the entity to whom this document request is directed (together with any predecessors,

successors, affiliates, subsidiaries, or divisions thereof, and their officers, directors, employees,

agents and attorneys), including drafts. Without limiting the term “control” as used in the

preceding sentence, a Person is deemed to be in control of a document if the Person has the right

or ability to secure the document or a copy thereof from another Person having actual possession

thereof, including, but not limited to, work product contracted by You from others. Documents

that are identical but in the possession of more than one Person or entity are separate documents


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within the meaning of this term. Also, a draft or non-identical copy is a separate document within

the meaning of this term.

       14.     “Discovery Order No. 9” refers to the Court’s October 29, 2020 Order, Dkt. No.

557, that defined the discoverable data at issue in this case to include “Data collected from a

user’s on-platform activity; Data obtained from third parties regarding a user’s off-platform

activities; and Data inferred from a user’s on or off-platform activity.”

       15.     “Electronically-Stored Information” or “ESI” means the complete original and

any non -identical copy (whether different from the original because of notations, different

metadata, or otherwise) of any electronically created or stored information, including, but is not

limited to, the following:

             a. All items covered by Fed. R. Civ. P. 34(a)(1)(A);

             b. Information or Data that is generated, received, processed, and recorded by

                computers and other electronic devices, including metadata (e.g., author,

                recipient, file creation date, file modification date, etc.), system data, deleted

                data, fragmented data, data pertaining to or maintained in Apps, database

                contents, and computer code;

             c. Internal or external web sites, intranets and extranets;

             d. Output resulting from the use of any software program, including, without

                limitation, word processing documents, spreadsheets, Database files,

                unorganized data, charts, graphs and outlines, e-mail, instant messaging, SMS,

                MMS, or other text messaging,, Facebook Messenger, WhatsApp, AOL Instant

                Messenger (or similar programs), and other electronic correspondence (whether

                active, archived, unsent, or in a sent or deleted - items folder), word- processing


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                 files, spreadsheets, databases, presentation files, video recordings, and sound

                 recordings, regardless of how or where the information is stored, including if it

                 is on a mobile device, bulletin board programs, screenshots/screengrabs, screen

                 sharing recordings, webcasts, screencasts, operating systems, source code, PRF

                 files, PRC files, batch files, ASCII files, and all miscellaneous media on which

                 they reside regardless of whether said electronic Data exists in an active file, a

                 deleted file, or file fragment;

              e. Activity listings of electronic mail receipts and/or transmittals; and

              f. Any and all items stored on computer memories, hard disks, floppy disks,

                 CDROM, magnetic tapes of all types, microfiche, flash memory devices, CDs,

                 DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or

                 SharePoint), or on any other media for digital Data storage, or transmittal, such

                 as, but not limited to, personal digital assistants, (e.g., iPhones), cellular or smart

                 phones (e.g., iPhones, tablets, BlackBerrys, iPhone, or Samsung Galaxy),

                 personal digital assistants, or any other means for digital storage and/or

                 transmittal and file folder tabs, or containers and labels appended to, or relating

                 to, any physical storage device associated with each original or copy of all

                 documents requested herein.

        8.       “Friend” refers to a User whose Data or Information became accessible to a Third

Party because they were Facebook friends with another User. “Friends” is the plural of Friend.

        16.     “Including” means “including but not limited to,” or “including, without

limitation.” Any examples which follow these phrases are set forth to clarify the request,

definition, or instruction but not to limit the topic.


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       17.     “Integration Partnership” refers to any Facebook Partner for whom the purpose of

the partnership was to support the functionality of the Facebook App on a device or platform.

       18.     “Marketing Plan” means any plan created or prepared by Facebook regarding

Facebook’s historical and future marketing or advertising strategy.

       19.     “Partner(s)” refers to the definition provided in Order re: Business Partners

Discovery Dispute (Dkt. No. 608), as confirmed in the Special Master’s Order re: Business

Partners, issued November 2, 2021, Whitelisted Partners (as defined herein) and includes

persons, apps and entities who accessed user information directly as well as those who were able

to target users based on information derived about them by Facebook.

       20.     “Personal Information” under California law at Cal. Civ. Code § 1798.140(o)(1)

is information that identifies, relates to, describes, is capable of being associated with, or could

reasonably be linked, directly or indirectly, with a particular User, such as:

             a. Identifiers such as a real name, alias, postal address, unique personal identifier,

                 online identifier, Internet Protocol address, email address, account name, social

                 security number, driver’s license number, passport number, or other similar

                 identifiers.

             b. Characteristics of protected classifications under California or federal law.

             c. Commercial information, including records of personal property, products or

                 services purchased, obtained, or considered, or other purchasing or consuming

                 histories or tendencies.

             d. Biometric information.

             e. Internet or other electronic network activity information, including, but not

                 limited to, browsing history, search history, and information regarding a


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                  consumer’s interaction with an Internet Web site, application, or advertisement.

               f. Geolocation Data.

               g. Audio, electronic, visual, thermal, olfactory, or similar information.

               h. Professional or employment-related information.

               i. Education information, defined as information that is not publicly available

                  personally identifiable information as defined in the Family Educational Rights

                  and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

               j. Inferences drawn from any of the information identified in this paragraph to

                  create a profile, dossier, or similar collection of information about a consumer

                  reflecting the consumer’s preferences, characteristics, psychological trends,

                  predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

         21.     “Policies and Procedures” includes any formal or informal policy, procedure, rule,

guideline, internal manuals, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your principals, directors, officers and employees to follow

in performing their jobs.

         22.     “Users’ Privacy Settings” means the audience selectors on the Facebook App that

purported to allow Facebook users to control with whom their information was shared.

         23.     The “Special Master’s Order Re: Plaintiffs’ Motion to Compel Production of

 Plaintiff Data” refers to the order of that named issued by the Special Master on November 29,

 2021.

         24.     “Third Parties” include the following:

               a. Apps, App Developers, App Publishers, Whitelisted Partners, and Partners;

               b. Data Brokers;


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                c. Any person or company with which Facebook has or had an integration

                   partnership; and

                d. Advertisers, to the extent these are not already covered in prior categories above.

          25.     “Terms of Service” refers to the documents to which a User or Third Party must

agree to in order to use or access Facebook.

          9.      “User” means a person who maintains or has maintained a Facebook account in

the United States. “Users” is the plural of User.

          10.     “Use Case” refers the purpose for an entity to obtain User Data.

          11.     “API Version” refers to both major version and minor version of an API (e.g.

Version 2.0 is different from Version 2.1).

          26.     “Whitelisted Partners” means any entity or person provided access to a capability,

such as permission to read or write informaiton via a specific API call, that was not provided to

all entities or persons. “Whitelist,” “Whitelisted,” or “Whitelisting” refers to this practice.

          27.     “You” or “your” or “Facebook” or “Defendant” means Defendant Facebook, Inc.,

together with your predecessors, successors, parents, subsidiaries, divisions or affiliates (foreign

or domestic), and their respective current and former officers, directors, agents, attorneys,

accountants, employees, partners, managers, members or other persons occupying similar

positions or performing similar functions, and all persons acting or purporting to act on its

behalf.

          28.     Words used in the plural include the singular, and words used in the singular

include the plural.

II.       RELEVANT TIME PERIOD

          Unless otherwise specified or agreed upon by the parties, the relevant time period for

purposes of this Notice is January 1, 2007 through the present.
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III.    MATTERS FOR TESTIMONY

        1.       Your organizational structure, including (i) the names of departments or other

organizational designations within Facebook, their functions, and their structure within Facebook

and (ii) employees in each department (including their responsibilities and chain of command),

as (i) and (ii) relate to:

             a. The calculation of revenues, gross profits, net profits, goodwill, impairments and

                 assets recognized by Facebook relating to Users’ Data or Information, including

                 but not limited to Facebook’s public reporting of same;

             b. The process for drafting, evaluating, approving, modifying, issuing and

                 monitoring the effectiveness of the Statement of Rights and Responsibilities, Data

                 Use Policies, Privacy Policies, disclosures, public statements, Facebook messages

                 or posts by CEO Zuckerberg, Sandberg or any Facebook executive that concern:

                 (i) the sharing of Users’ Data or Information with Third Parties, (ii) the use of

                 Users’ Data or Information by Third Parties, including identification of those

                 responsible for these functions; and (iii) Cambridge Analytica or inquiries,

                 investigations, public response, media reports, regulatory or governmental

                 hearings into concerns arising out of the Cambridge Analytica scandal; and

             c. Communications with shareholders, financial stakeholders, regulatory or

                 governmental entities, and the public arising out of the Cambridge Analytica

                 scandal.

        2.       Identification, by category, of the type of Data or Information to which Facebook

sold, made accessible, made available, or allowed Third Parties to use to target Users, including:

             a. The types of User Data or Information Facebook shared, made accessible or

                 permitted Third Parties to target;
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            b. The purposes for which such Data or Information was shared or made accessible,

               or permitted Third Parties to target;

            c. The format or formats through which it is shared or made accessible, or made

               available to Third Parties to target; and

            d. How Facebook ensured Third Parties’ Use of such Data or Information was

               limited to the Use Case.

       3.      An overview of the processes of developing Privacy or App Settings or other

controls made available to Users to prevent or limit their Data or Information from being

accessed by Third Parties, including the dates during which each such Privacy or App Setting or

other controls were available, the Data and Information covered by each Setting or control, and

the Default setting for each, including:

            a. How Privacy or App Settings or other privacy designations associated with Users’

               Data and Information were (or were not) communicated to Third Parties such that

               Third Parties could comply with them;

            b. Processes, reviews, investigations, inquiries, studies, analyses, and

               Communications relating to Users’ Privacy or App Settings, their efficacy,

               including user experience, customer service, internal regulators, whether internal

               or by third parties; and

            c. Facebook’s monitoring and enforcement of contractual terms with Third Parties

               regarding their use of Users’ Data or Information, including enforcement of

               Policies regulating access to such Data or Information beyond the Use Case.

       4.      Facebook’s processes of pseudonymization, de-identification, re-identification,

association, and deletion of User Data and Information.


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       5.      The systems, repositories, databases, and other sources (collectively herein,

“Systems” or “System” when singular) containing or referencing any Data that can be associated

with a User and, for each:

            a. The schemas, response schemas, and fields for the System;

            b. The type of Data stored or referenced in the System;

            c. How the data is stored in or referenced by the System;

            d. The other Systems that interact with that data, and the manner by which that

               interaction occurs;

            e. The manner by which Data from the System is made accessible to Third Parties,

               or affects in any way the way Data stored or referenced elsewhere is made

               available to Third Parties.

       6.      The development of Friend Sharing, including but not limited to: its purpose and

identification of those involved in its development; how the technology functioned; the APIs and

permissions associated with Friend Sharing; the communication of this technology to users,

including the drafting of Facebook’s Terms of Service, SRR and Data and Privacy Policies

relating Friend sharing; and the revenue impact and net profits for Facebook relating to Friend

sharing throughout the Class Period.

       7.      The decision to Whitelist particular apps or partners, and how Facebook

determined which entities to Whitelist, including:

            a. The most efficient way to identify each Whitelisted entity (including but not

               limited to apps and partners) throughout the Class Period; the purpose of such

               Whitelisting; what Data or Information each Whitelisted entity had access to; for

               what period of time; and whether the access granted exceeded the Use Case; and


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               when such Whitelisting ceased; and calls logs or any other tracking of third-party

               Whitelisted apps or partners that had access to and made use of Friend Sharing

               APIs and permissions;

           b. The most efficient way to establish payments, revenues, exchanged value, actual

               or promised, Facebook received for permitting Whitelisting capabilities, and the

               revenues and net profits Facebook recognized related to Whitelisting throughout

               the Class Period, including the evaluation of the benefits, including goodwill,

               barter or exchange benefits; and

           c. Identification of those with decision-making responsibility relating to whitelisting

               throughout the Class Period, beginning with those with final and decisive

               authority.

   8. The methods, tools, technologies, databases, project management tools, task lists, or other

internal sources Facebook used to track Third Parties and Data Brokers, including:

           a. The type and purpose of Data and Information Facebook received;

           b. The type and purpose of Data and Information Facebook provided;

           c. The Payments, consideration, actual or promised, Facebook provided or received

               for engaging in such exchanges; and

           d. The evaluation of the Benefits to Facebook of the information provided or

               received for engaging in such exchanges.

   9. Video content and information relating to video content, requested or obtained, available

to or accessed, interacted with, or shared by users on or via the Facebook platform, specifically:

           a. The amount of such content and how the amount of such content has changed or

               varied over time;


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           b. the records or information that Facebook has regarding such content and users’

              access to, interactions with or sharing of such content;

           c. Actions taken or decisions made by Facebook in order to enable users to access,

              interact with, or share such content, and when such actions were taken or

              decisions were made;

           d. Access by Third Parties to Data and Information related to users’ access to,

              interaction with, or sharing of video content on or via the Facebook platform, and

              whether and how such access has changed or varied over time, including but not

              limited to APIs, permissions and capabilities providing access to Facebook users’

              video related content and information; and

           e. Which persons employed at any time by Facebook have the most knowledge

              related to the topics listed in paragraphs a through d above.

   10. Facebook’s calculation of revenues, gross profits, and net profits recognized by Facebook

relating to Users’ Data or Information, including but not limited to how Facebook monetized

User Data or Information, how Facebook quantified the value of sharing User Data or

Information, and Facebook’s business and marketing strategy regarding the monetization and

quantification of User Data or Information.




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                                          SCHEDULE B

       Pursuant to Fed. R. Civ. P. 30(b)(5) and 34, Plaintiffs request the production of or

identification by Bates number of the following, at least 5 business days before testimony on one

or more of the deposition topics identified in Schedule A request, via e-mail or file transfer:

       1.      All documents which the person Facebook designates to testify on its behalf has

consulted or reviewed or plans to consult in preparation for the deposition and has relied upon or

will rely upon for testimony concerning the above deposition topics.

       2.      A curriculum vitae for the person Facebook designates to testify on its behalf.




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From:                             Blume, Robert C. <RBlume@gibsondunn.com>
Sent:                             Wednesday, May 4, 2022 5:58 PM
To:                               Cari Laufenberg; Ring, Rose; *** Service-FB-CA_MDL
Cc:                               Anne Davis; David Ko; Derek Loeser; Lesley Weaver; Matt Melamed
Subject:                          30(b)(6) Depositions--time on the record



Cari:

We considered your request for an additional five hours (for a total of 21 hours) to complete the deposition
testimony for all of Topics 1-10, except Topic 5, noticed in Plaintiffs’ Second Amended Notice of Deposition of
Defendant Facebook, Inc. Pursuant to Federal Rule Of Civil Procedure 30(b)(6). We note that during our recent
meet & confer, you acknowledged that the parties previously agreed to allocate 16 hours for these topics.
Nevertheless, you asserted that after a good-faith assessment of Plaintiffs’ 30(b)(6) deposition objectives and
the fact that Facebook divided these topics between no fewer than six witnesses, Plaintiffs required this
additional time.

In light of the above, Facebook accepts your proposal and agrees to present its corporate representatives for
Topics 1, 2, 3, 4, 6, 7, 8, 9, and 10 for a total of 21 hours.

Let me know if you would like to discuss.

Best,
RCB


Robert C. Blume

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                                          July 15, 2022

VIA ELECTRONIC MAIL

 Amanda Aycock
 Gibson, Dunn & Crutcher LLP
 200 Park Avenue
 New York, NY 10166-0193
 AAycock@gibsondunn.com

          Re: In re Facebook, Inc. Consumer Privacy User Profile Litig.,
              Northern District of California Case No. 3:18-md-02843-VC

Dear Amanda,

        We write in response to your July 13 letter regarding the 30(b)(6) deposition concerning
data brokers.

        Documents. Thank you for identifying the documents that the designee will be prepared
to address at his deposition. As required by the deposition protocol, below is a list of documents
Plaintiffs anticipate we may question the designee about during the deposition. For ease of
reference, the list includes the documents identified in your letter.

       FB-CA-MDL-03543133                                    ADVANCE-META-00003593
       FB-CA-MDL-02242293                                    ADVANCE-META-00003601
       Dep. Exhibit 295 (A. King)                            FB-CA-MDL-03639988
       FB-CA-MDL-01129655                                    FB-CA-MDL-01186561
       Dep. Exhibit 3 (Papamiltiadis)                        Dep. Exhibit 370 (Lee)
       Dep. Exhibit 415 (Lentini)                            Dep. Exhibit 371 (Lee)
       Dep. Exhibit 421 (Lentini)                            ACXM_FB2_0023691
       Dep. Exhibit 422 (Lentini)                            FB-CA-MDL-03103532
       FB-CA-MDL-03476912                                    FB-CA-MDL-03103932
       FB-CA-MDL-02146206                                    FB-CA-MDL-03103473
       ACXM_FB2_0018637                                      ADVANCE-META-00003607
       FB-CA-MDL-02496055                                    ADVANCE-META-00003611
       ACXM_FB2_0000122
       ACXM_FB2_0730511
       ADVANCE-META-00003579

        Subject Matter. Your letter provides what you describe as a representative list of the
subject matter the designee will be prepared to testify about within the scope of the portions of
Topics 2 and 8 as they pertain to data brokers. The representative list is helpful. But your
colleagues have also identified Mr. Casorio as Facebook’s designee on other topics as they relate
to data brokers. On June 23, in an email about Topic 4, Heather wrote that, “[p]er my prior
emails and other communications from our team . . . Chris Casorio will cover Partner
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Categories.” And on July 11, Austin wrote that, for Topic 9b, Plaintiffs’ “questions relating to
Custom Audiences should be directed to Ms. Leone and Mr. Casorio.” It is all a bit of a mess.

        Regardless, to assist Facebook’s ability to prepare the designee, Plaintiffs are primarily
interested in: (1) the types of user information Facebook received from data brokers, from which
data brokers it received that information, how it used that information, and what it paid for that
information; and (2) the types of user information Facebook provided data brokers, to which data
brokers it provided that information, how they used that information, and what it received for
such information.

        But we note that Facebook’s duty is not limited to preparing the designee to address those
topics, or the documents it or Plaintiffs identified. Rather, Facebook “has a duty to educate its
witnesses so they are prepared to fully answer the questions posed at the deposition.” Bowto v.
ChevronTexaco Corp., 2006 WL 294799, at *1 (N.D. Cal. Feb. 7, 2006). That duty requires
preparing the designee “to fully and unevasively answer questions about the designated subject
matter.” Adidas Am., Inc. v. TRB Acquisitions LLC, 324 F.R.D. 389, 394 (D. Or. 2017). This is a
large, complex case spanning a long time period, and we understand that preparing the designee
is burdensome. But the burden is imposed by Rule 30(b)(6), not Plaintiffs.

       If you’d like to discuss anything in this letter, please let me know.

                                                      Regards,


                                                      Matthew Melamed
                                                      mmelamed@bfalaw.com


cc:    Service-FB-CA_MDL@gibsondunn.com
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                                                                                  Austin Schwing
                                                                                  Direct: +1 415.393.8210
                                                                                  Fax: +1 415.374.8458
                                                                                  ASchwing@gibsondunn.com




May 28, 2022


VIA ELECTRONIC MAIL

Lesley Weaver
Bleichmar Fonti & Auld LLP
555 12th Street, Suite 1600
Oakland, CA 94607

Derek W. Loeser
Keller Rohrback L.L.P.
1201 Third Avenue, Suite 3200
Seattle, WA 98101

Re:    In re Facebook, Inc. Consumer Privacy User Profile Litigation

Dear Counsel:

        To ensure that Simon Cross’s next 30(b)(6) deposition proceeds in a productive and
efficient manner, we write again to explain our understanding of his designated topics and to
ask that the parties try to resolve any confusion or disagreement in advance. Specifically, if
there is any remaining confusion or disagreement, we ask that you let us know sufficiently in
advance of the next deposition so that we may meet and confer and, as necessary, seek
assistance of our mediators and/or Special Master Garrie. We want the remaining 30(b)(6)
depositions to go smoothly and offer this summary in the spirit of achieving that mutual goal.

       Mr. Cross is designated to testify on Topics 6, 7, 8, 2(a), 2(c) and 2(d), with certain
exceptions explained below. Mr. Cross testified on Topics 6 and 7 during his first two days of
deposition, so we begin with those topics.

       Topic 6. Mr. Cross was designated to testify on Topic 6, except as it relates to
communications to Users about friend sharing (including any communication via Facebook’s
Terms of Service, SRR, and/or Data and Privacy Policies related to friend sharing), which is
being covered by Ms. Hendrix. See, e.g., Hendrix 30(b)(6) Tr. at 23:24-24:17.

       Specifically, Mr. Cross was designated to testify about the technical aspects of friend
sharing, including (1) the technical development of friend sharing, (2) the purpose of friend
sharing, and (3) the revenue and net profits (if any) Facebook attributed directly to friend
sharing. Plaintiffs’ notice does not define “friend sharing,” but Facebook understands this
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Lesley Weaver
Derek W. Loeser
May 28, 2022
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term to refer to permissions related to how third-party app developers and/or integration
partners access the Information or Data of a User’s friends.

        Accordingly, Mr. Cross was prepared on and testified to the following issues, among
others, during his first two days of deposition:

         x   Inception of friend sharing via friend permissions, including when it was developed
             and how it functioned over time (see, e.g., Cross 30(b)(6) Tr. at 71:11-16);
         x   Inception of Graph API and how it evolved over time, including the reasons for
             such evolutions (see, e.g., id. at 40:1-44:6);
         x   Definition of friend sharing (see id. at 68:17-70:7);
         x   Purpose of friend sharing (see id. at 70:13-71:4);
         x   Definition and function of integration partners (see id. at 52:2-21);
         x   Facebook Users’ decision-making as to whether certain apps or integration partners
             obtained access to that User’s friend data. See, e.g., id. at 82:25-83:18;
         x   How Facebook made Data accessible to developers (including integration partners)
             to allow them to build applications (see, e.g., id. at 52:22-55:23; 195:19-196:4);
         x   Permissions associated with friend sharing (see, e.g., id. at 72:7-74:25);
         x   How friend-sharing technology functioned, including developers’ access to Data
             through Graph API (versions 1, 2, and 3), as well as REST API and FQL (see, e.g.,
             id. at 38:20-39:25; 86:5-88:4);
         x   Reasons behind the transition to Graph API version 2 as that transition related to
             the deprecation of friend permissions (see, e.g., id. at 41:24-46:18; 253:18); and
         x   Revenue impact, if any, that deprecating friend permissions had on Facebook
             (which is different and distinct from valuing User Data, a topic Mr. Cross was not
             designated for) (see, e.g., id. at 66:20-67:14; 147:3-10).1

       During his first two days of deposition, Mr. Cross provided detailed answers to your
questions, often helping to frame questions more precisely in ways that you repeatedly

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     On May 9, Plaintiffs’ counsel asked Mr. Cross about “an analysis that [Mr. Cross had] seen of the impact
     of the Platform changes that were proposed,” but Mr. Cross could not remember the document
     specifically. See Cross 30(b)(6) Tr. at 146:25-147:18. The document Mr. Cross was thinking of is FB-CA-
     MDL-01813453.
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indicated was helpful. See, e.g., Tr. 33:9-11 (“Q. Thank you. You’ve helped me understand
any number of documents I have reviewed now. That’s helpful information.”); Tr. 54:14-15
(“Q. And, again, this clarification is really helpful.”); Tr. 101:7-10 (“I’ve asked you some
questions about the different permissions, and you’ve provided some helpful information about
the terminology used to discuss different permissions.”)

       There were also instances where Mr. Cross could not answer your questions, or could
not answer them with a simple “yes” or “no,” which you suggested was because he was not
adequately prepared or was being evasive. Mr. Cross’s preparation was extensive, lasting
many hours over several sessions, and it is not accurate to accuse him to being evasive because
he does not believe that a question can be answer in a single word. In the interest of trying to
avoid the same issues going forward, we wish to share, and discuss if you would like, a few
examples of what we mean.

        Plaintiffs introduced emails and documents, which Mr. Cross was not copied on and
had not drafted, and asked him to explain what the authors meant. Even though these types of
questions fall outside the scope of a 30(b)(6) deposition, Mr. Cross did his best to answer them
in his personal capacity. That said, it is not reasonable or fair to expect Mr. Cross to get into
the minds of other people to explain what they meant in emails and documents. See, e.g., id.
at 76:12-21 (asking what KP (a former employee) was referring to when he wrote the term
“identity data” in a 2013 e-mail); 77:3-25 (asking Mr. Cross to make “reasonable
interpretations” or “fair interpretations” of language in an e-mail); 78:1-4 (similar); 277:22-
278:12 (asking Mr. Cross whether information in an email “suggest[s] to you” that
Konstantinos Papamiltiadis believed that a “framework” for “sorting partners into buckets”
was one that had been proposed by Jackie Chang); 279:4-280:1 (asking whether Mr. Cross
could confirm, on behalf of Facebook, whether Konstantinos Papamiltiadis was making certain
recommendations with respect to a “framework” articulated by Jackie Chang based on
language in an email).

        Plaintiffs also asked Mr. Cross questions on topics for which Facebook had designated
other witnesses and advised Plaintiffs of that designation. For example, Plaintiffs asked
questions about whether apps use User Data for advertising, see id. at 138:11-17, and whether
Facebook did any financial analysis of the value of User Data it makes available to Third
Parties, see, e.g., id. at 144:18-145:1; 146:3-6. These questions fall squarely into topics for
which Facebook designated other witnesses and informed Plaintiffs of those designations:
Isabella Leone for targeted advertising (see below), and Amy Lee for “how Facebook
quantified the value of sharing User Data” as part of Topic 10.

       Topic 7. Mr. Cross was designated to testify on Topic 7, which covers Whitelisting as
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Facebook used the term after the public deprecation of Graph API v1 (as opposed to the
broader industry-wide use of the term), including (1) the purpose of Whitelisting, (2) the
entities Facebook Whitelisted after announcing its decision to publicly deprecate friend
permissions in Graph API v. 1, (3) the Data and Information that Users could permit
Whitelisted entities to access, (4) the period of time entities were Whitelisted after the public
deprecation of Graph API version 1, (5) the processes and practices undertaken to ensure that
these Whitelisted entities complied with their relevant use cases, (6) the individuals or
functions within Facebook who had decision-making authority related to adding or removing
third-party entities to the Whitelist after the public deprecation of Graph API version 1, and
(7) any payments, revenues, exchanged value, or benefit Facebook received or recognized
related specifically to the decision to Whitelist entities after the public deprecation of Graph
API version 1.

       Before the depositions, we informed you that Mr. Cross would not be prepared to
recount from memory the specific, granular detail contained in call logs, APIs, or permissions
granted to any particular entity—indeed, memorizing such information on an entity-by-entity
basis would be impossible given the number of developers and applications running on the
platform every year between 2007 and 2018. Nevertheless, Mr. Cross provided extensive
testimony on Whitelisting, including, among other things:

       x   What “Whitelisting” is or refers to. Id. at 157:13-12; 164:20-165:15. Mr. Cross
           testified both as to Whitelisting generally and specifically in the context of
           permissions granted to certain developers after friend sharing was deprecated. See,
           e.g., id. at 167:21-168:5.
       x   What it means to Whitelist friend-sharing APIs for an app. Id. at 158:23-159:9.
       x   How developers would access publicly deprecated APIs or permissions. Id. at
           231:20-3.
       x   Whether there are means other than via Whitelisting for a developer or an app that
           is not considered a partner of Facebook’s to get access to publicly deprecated
           permissions. Id. at 163:4-19.
       x   How you would identify apps that had been Whitelisted and received deprecated
           permissions, including testimony regarding the Capabilities Tool. Id. at 169:4-8,
           172:8-172:21.
       x   What “Gatekeepers” are, including their function. Id. at 170:22-171:10.
       x   The reasons why Facebook allowed certain partners to obtain friend data after the
           transition to Graph API version 2. Id. at 192:18-194:22; 232:4-233:22.
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       x   The removal of access for Whitelisted apps and the reasons underlying such
           removal. Id. at 240:22-242:21.
       As Plaintiffs’ counsel acknowledged, he and Mr. Cross had an “obviously lengthy
discussion about whitelisting . . . .” Id. at 227:13-16.

         Topic 2. Mr. Cross is designated to testify on Topics 2(a) and 2(c), except as they
relate to “targeted advertising” for which Facebook has designated Isabella Leone. “Targeted
advertising” is addressed below. Mr. Cross is also designated to testify on Topic 2(d), to the
extent it relates to Platform Integrity. As you know, Allison Hendrix was designated to testify
as to Topic 2(d) except as it may relate to targeted advertising. See Hendrix 30(b)(6) Tr. at
17:15-24. For further avoidance of doubt, Mr. Cross will not testify on Topic 2(b), for which
Facebook has designated Ms. Hendrix.

       Specifically, Mr. Cross will be prepared to testify on the following issues:

       x   General categories of User Data shared or made accessible to Third Parties (not
           including advertisers) through the Facebook Platform ;
       x   How Third Parties (not including advertisers) are able to access User Data or
           Information on the Facebook Platform, e.g., via Graph API;
       x   How developers are able to query specific user data fields to build their apps;
       x   Process by which an app developer may access non-public User data associated
           with a specific permission through Graph API;
       x   The permissions and data points available through Facebook’s public APIs;
       x   Data integration partners and the Data they were able to obtain through the
           Facebook Platform, and why; and
       x   Generally the steps the Platform Integrity team undertook to detect misuse.

        Topic 8. Mr. Cross is designated to testify on Topic 8, except it relates to “targeted
advertising,” for which Facebook has designated Isabella Leone. “Targeted advertising” is
addressed below. Specifically, Mr. Cross will be prepared to testify on the following issues:

       x   How Data provided to Third Parties (not including advertisers) through the
           Facebook Platform is tracked;
       x   The extent to which, if at all, Third Parties (not including advertisers) are required
           to pay for access to Data or Information via the Facebook Platform;
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       x   Mechanisms by which Information or Data was transferred from Third Parties (not
           including advertisers) back to Facebook; and
       x   Whether Facebook charged for Facebook Platform API usage.

         On May 6 and May 9, 2022, Plaintiffs identified 55 documents they said they anticipate
asking Mr. Cross about during his 30(b)(6) deposition. Mr. Cross has reviewed those
documents. Mr. Cross has also reviewed, for example, Facebook’s responses to FTC Requests
for Information (e.g. FB-CA-MDL-01747399; FB-CA-MDL-00346000; FB-CA-MDL-
01747759; FB-CA-MDL-01747773; FB-CA-MDL-01747857); white papers submitted to the
FTC (e.g. FB-MDL-01194066); letters to the FTC regarding integration partnerships (FB-CA-
MDL-01747655); resources from the Facebook Developer website; prior deposition testimony
(e.g. Steve Elia, Mike Vernal, Simon Cross); slides regarding the estimated impact of
Facebook ecosystem changes (e.g. FB-CA-MDL-01813453-54); and draft slides discussing
criteria for granting Whitelisting exemptions and extensions (e.g. FB-CA-MDL-02007346).
Mr. Cross has reviewed and is prepared to testify about these documents, or aspects of those
documents, that are within the scope of his designated topics.

       Targeted Advertising. The parties have agreed to meet and confer on May 31, 2022,
regarding the meaning of “targeted advertising” as it relates to the exceptions noted above for
Topics 2 and 8. In advance of and subject to the parties’ discussions in that meet and confer,
Facebook provides this initial response in hopes of facilitating those discussions.

        With respect to Topic 2, Facebook understands “targeted advertising” to mean the Data
or Information, if any, that “Facebook sold, made accessible, made available, or allowed Third
Parties to use to target Users” for the purpose of delivering advertisements to Users on
Facebook. Facebook understands that “targeted advertising” is not relevant to Topic 2(d),
which applies only to apps and app developers, not to advertising.

        With respect to Topic 8, Facebook understands “targeted advertising” to mean the Data
or Information, if any, that Facebook received from or provided to Third Parties and Data
Brokers for the purpose of delivering advertisements to Users on Facebook [subtopics 8(a) and
(b)], and payments, consideration, and evaluation of the benefits of any such exchanges
[subtopics 8(c) and (d)].

       Facebook reserves the right to revise the above descriptions based on the parties’
continuing meet and confer efforts.

      We hope that this information is helpful and provides a productive path forward. If
you would like to meet and confer on any of these issues, we should do that in advance of Mr.
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Cross’ final deposition session.

Sincerely,



/s/ Austin V. Schwing
Austin V. Schwing

AVS/tm
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                   Exhibit F
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                  Exhibit G
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1                  THE DEPONENT:     There were some apps that        09:58:17

2     could access --

3                  SPECIAL MASTER GARRIE:       I'm instructing

4     the witness to answer the question yes or no.

5                  MR. BLUME:   Mr. Garrie, if there's no yes         09:58:26

6     or no, can he answer that way as well?

7                  SPECIAL MASTER GARRIE:       If he -- if he's

8     not able to answer the question, he can say "I'm

9     not able to answer the question" certainly.               But

10    either "Yes," "No," or "I can't answer the                      09:58:34

11    question."

12                 Any time you can't answer a question, say

13    "I can't answer."     But he's asking you yes or no,

14    so -- or you can't answer.

15                 THE DEPONENT:     It -- it doesn't make --         09:59:00

16    it doesn't make a statement here about like all

17    apps or any apps or some apps.         It just says apps.

18    And at this point, you know, the vast majority of

19    apps could no longer access friend permissions.

20                 So it doesn't -- it doesn't -- the                 09:59:14

21    statement isn't qualified enough for me to give a

22    yes-or-no answer.

23                 SPECIAL MASTER GARRIE:       Okay.

24         Q.      (By Mr. Loeser)     Mr. Cross -- sorry,

25    Special Master Garrie.                                          09:59:25

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1                 SPECIAL MASTER GARRIE:       No.     Go ahead,    09:59:27

2     Counsel.

3          Q.     (By Mr. Loeser)     On March 14th, 2016, it

4     was not true that apps can no longer access friend

5     permissions, right?                                           09:59:38

6                 MR. BLUME:   Asked and answered.         Scope.

7     And form.

8                 THE DEPONENT:     There were some apps in

9     2016 that could still access friend permissions.

10         Q.     (By Mr. Loeser)     And that is not what KP       10:00:01

11    was indicating Ms. Peace should report to

12    USA Today; is that right?

13                MR. BLUME:   Objection.      Form.     Scope.

14                THE DEPONENT:     I can't -- I can't confirm

15    what KP's statement of intent was here.            This is    10:00:16

16    him writing not the -- this is him writing.

17         Q.     (By Mr. Loeser)     So Mr. Cross, he's

18    responding to an email in which Ms. Peace is asking

19    if she should say only a few apps have access to

20    this information, is he not?                                  10:00:35

21                MR. BLUME:   Objection.      Form.     Scope.

22    Argumentative.

23                THE DEPONENT:     He's certainly replying to

24    an email from Johanna.

25         Q.     (By Mr. Loeser)     Okay.    And does he not      10:00:47

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1     say "In the spirit of fairness I would not                         10:00:48

2     say anything around the lines that 'only a few apps

3     have access to this information'"?

4             A.   That's what's on the page.

5             Q.   And does he not say that he would                     10:00:59

6     "suggest that this option under the App Settings is

7     an artifact of what used to be true and enforce our

8     messaging that apps can no longer access

9     friend_*permissions"?

10            A.   Again, those words are written on the                 10:01:14

11    page.

12                 MR. LOESER:     We can go to the next

13    exhibit.     And I think this will be the last thing

14    that we do today to abide by your request that we

15    stop at the -- the late hour that it is now for                    10:01:34

16    you.

17                 THE DEPONENT:     I'd appreciate that.

18    Thank you.

19                 (Exhibit 344 was marked for

20    identification by the court reporter and is                        10:01:38

21    attached hereto.)

22                 MR. LOESER:     So this as -- okay.      This

23    will be marked Exhibit 344.

24            Q.   (By Mr. Loeser)     And Mr. Cross, I'm

25    showing you what's been marked as Exhibit 344.               And   10:02:21

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1            Q.       But the idea certainly was to                          06:02:42

2

                              , right?

4            A.       My understanding is yes, the intent of

5     this was to -- was to do a -- perform a                                06:02:52

6                                                                    -- of

7




9            Q.       Okay.    If we can go down to the

10                                                               And you     06:03:05

11    see the first bullet there.

12                    And it states:




                                            ."                               06:03:26

16                    Did I read that correctly?

17           A.       You did, yeah.

18           Q.       And so fair to say that Facebook believes

19    that

                  ?                                                          06:03:41

21                    MR. SCHWING:       Object to the form.

22    Outside the scope.

23                    THE DEPONENT:       So, again, this is an

24    email from KP, and KP is asserting that he believes

25    that                                                                   06:03:55

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1                                                                    06:03:59

2          Q.     (By Mr. Loeser)     And was KP considered a

3     knowledgeable person about these topics at

4     Facebook?

5                 MR. SCHWING:    The question is vague.             06:04:08

6     Calls for speculation.

7                 THE DEPONENT:     Yeah.   I mean, hard --

8     hard -- hard to answer that question.          Yeah, I

9     don't know how KP was perceived by -- by various

10    people at the company.      He was certainly                   06:04:19

11    knowledgeable as a platform partnerships person.

12         Q.     (By Mr. Loeser)     And fair to say that

13    Facebook believed that he had an adequate

14    understanding of what a sensitive private API was?

15                MR. SCHWING:    Outside of the scope.              06:04:34

16    Object to the form.

17                THE DEPONENT:     Yeah, hard for me to

18    answer on behalf of Facebook and what -- what

19    Facebook as -- as an entity thinks.

20                I can give you my -- my view.         But -- but   06:04:45

21    I don't feel I can answer that on behalf of the

22    company as such.

23                I think he was knowledgeable about --

24    about the Facebook developer platform and which

25    APIs existed and what -- what they were being used             06:05:00

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1     by -- how they were being used by developers.                  06:05:07

2          Q.   (By Mr. Loeser)     Who at Facebook can

3     answer the question in the way that -- that would

4     describe Facebook's corporate understanding of what

5     is a sensitive private API?                                    06:05:21

6               MR. SCHWING:     Object to the scope.        Calls

7     for speculation.

8               THE DEPONENT:     I mean, it -- I think,

9     again, "sensitive" is -- is a subjective

10    definition.   "Private API," I think we've covered.            06:05:36

11    "Sensitive" is subjective.

12              I would think that maybe the legal policy

13    teams would be well placed to opine on that.

14              But, again, "sensitive" is not -- is a

15    subjective term.                                               06:05:56

16         Q.   (By Mr. Loeser)     So who in the policy

17    team could opine on -- on what Facebook means by

18    "sensitive private API"?

19              MR. SCHWING:     Outside the scope.      Calls

20    for speculation.                                               06:06:09

21              THE DEPONENT:     Yeah, I -- I don't know

22    who at the company would like names of -- of people

23    that -- that would be able to give you an

24    authoritative answer.     Again, you're asking a very

25    broad question.                                                06:06:22

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1          Q.   (By Mr. Loeser)     And do APIs that emit        06:06:24

2     friend data emit PII data?

3               MR. SCHWING:     Object -- sorry.

4               Objection.     Vague.   Outside the scope.

5               THE DEPONENT:     Can you help me understand     06:06:40

6     what -- what you mean by PII data?

7          Q.   (By Mr. Loeser)     Well, what does it mean

8     here on this -- on this communication?

9               MR. SCHWING:     Calls for speculation.

10    Outside the scope.                                         06:06:51

11              THE DEPONENT:     Yeah, I -- yeah, I can't

12    give you an authoritative answer to that.         I have

13    my own understanding, but KP is the -- is the

14    author of the email, and he's -- he's the one

15    making these statements.                                   06:07:07

16         Q.   (By Mr. Loeser)     Do you know what "PII"

17    stands for?

18         A.   My understanding in this context is "PII"

19    stands for personally identifiable information.

20         Q.   And does friend data provide personally          06:07:18

21    identifiable information?

22              MR. SCHWING:     Objection.    Vague.    Calls

23    for a legal conclusion.

24              THE DEPONENT:     Yeah, it's -- I'm not --

25    I'm not able to make a formal determination of what        06:07:30

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1     PII includes or counts as PII.                                   06:07:33

2           Q.    (By Mr. Loeser)     So you're saying -- your

3     testimony under oath today is you cannot testify as

4     to whether friend data includes PII?

5           A.    By giving you -- again, I'm trying to do             06:07:48

6     my best here and give you an accurate -- an

7     accurate and complete answer.

8                 The definition of "PII" is -- is not

9     defined, and so it's hard to give -- me to give you

10    a complete -- complete answer.        Right?                     06:08:00

11                So I -- I just -- I'm not sure I can

12    answer that question in a way that's like -- fully

13    accurate.    I could, you know, speculate and give

14    you my personal take, but you're asking me to

15    testify as to what Facebook considers PII, which is              06:08:14

16    a -- a thing I'm -- I don't believe I'm well placed

17    to give.

18          Q.    Well, Mr. Cross, what do you believe PII

19    is?

20          A.    I think there's a range of definitions               06:08:28

21    of -- of PII.    One definition would be somebody's

22    name and maybe their profile picture.          You could

23    argue that that is personally identifiable.              There

24    are cases where it's not personally identifiable.

25    So hence -- hence the challenge giving a complete                06:08:50

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1     answer there.                                             06:08:55

2          Q.   Okay.

3               MR. LOESER:     Why don't we go to the

4     PowerPoint itself.   It's Exhibit 405.

5               (Exhibit 405 was marked for                     06:09:10

6     identification by the court reporter and is

7     attached hereto.)

8          Q.   (By Mr. Loeser)     Again, Mr. Cross, you've

9     had a chance to review this PowerPoint previously,

10    right?                                                    06:09:23

11         A.   I have, yes.

12         Q.   And did you also read it to prepare for

13    your testimony today?

14         A.   It was -- yes, it was supplied as one of

15    the documents I -- I think you were potentially           06:09:32

16    going to show me, so I -- I reviewed it in

17    preparation for today, yes.

18         Q.   And the title slide states

                                              right?

20         A.   I see that, yeah.                               06:09:45

21         Q.   And what were the




23              MR. SCHWING:     Objection.     Vague.

24              THE DEPONENT:     Yeah, I think there's a --

25    hard for me to -- to -- there's a number of the           06:09:59

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                  Exhibit H
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1          A.     That is correct.                              01:10:37

2          Q.     Okay.     Let me ask you this question.

3                 When was the last time you saw this

4     document?

5          A.     I would need to go refer to my notes to       01:10:48

6     see if I saw this one.

7          Q.     Okay.     Go ahead and refer to your notes.

8          A.     I -- I just honestly -- I -- I don't

9     think --

10         Q.     I think it's fine to look at your notes.      01:10:57

11         A.     I don't know that I had in my notes which

12    documents -- I would -- I would need to physically

13    go look in the binder to see if I saw this one.

14         Q.     Okay.     I'll try to see if opposing

15    counsel produced that document.                           01:11:12

16                But while we're working on that, I wanted

17    to ask a couple questions about Exhibit 348.

18         A.     Specifically, the example earlier that I

19    was looking for?

20         Q.     Uh-huh.                                       01:11:32

21         A.     And the question you answered -- or

22    asked, was in 347, under "Overview," where there

23    were just examples of what UII -- that have been

24    generated in more than 90 days ago, included

25    emails, IP addresses, names, locations, cookies.          01:11:45

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1             Q.   And when you say "cookies," what do you         01:11:48

2     mean?

3             A.   Web browser cookies.

4             Q.   Such as?

5                  MR. BLUME:    Objection.     Form.              01:11:58

6                  THE DEPONENT:     Cookies that Web browsers

7     use for the sake of authentication or similar

8     functions.

9             Q.   (By Ms. Weaver)     Facebook uses cookies,

10    right?                                                       01:12:18

11            A.   Facebook does use cookies.

12            Q.   And what Facebook cookies are you aware

13    of --

14                 MR. BLUME:    Objection.     Form.

15            Q.   (By Ms. Weaver)     -- that are UII?            01:12:27

16                 MR. BLUME:    Objection.     Form.

17                 THE DEPONENT:     I can't actually recollect

18    without looking at my -- looking at -- looking back

19    in some of the prior documents.          I -- there's --

20    there's a variety of -- there's -- there's a number          01:12:46

21    of different cookies.

22            Q.   (By Ms. Weaver)     Okay.    Are you familiar

23    with the datr cookie?

24            A.   I'm familiar with the datr cookie.

25            Q.   And datr --                                     01:12:57

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1            A.   D-A -- sorry -- D-A-T-R.                        01:12:59

2            Q.   Yes.

3                 What is the datr cookie?

4                 MR. BLUME:   Objection.      Form.    Scope.

5                 THE DEPONENT:     The datr cookie is a          01:13:13

6     unique browser identifier.

7            Q.   (By Ms. Weaver)      And when you say it's a

8     "unique browser identifier," is it unique to

9     browsers, or is it unique to a specific visit by a

10    device to a browser?                                        01:13:35

11                MR. BLUME:   Form.

12                THE DEPONENT:     That -- that question is

13    technically inaccurate.       If you could ask it in a

14    different way.

15           Q.   (By Ms. Weaver)      Well, let me put it this   01:13:47

16    way.    Sometimes cookies have lots of different

17    identifiers contained in them.        Datr -- the cookies

18    can have the identifier of the browser and the

19    device ID and a number of things.

20                I'm asking what information is contained        01:13:59

21    in the datr cookie?

22           A.   The datr cookie specifically is tied to

23    the browser.

24           Q.   And the browser only?

25           A.   It is -- it is the browser as it exists.        01:14:13

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1     And -- and so it's -- it's -- it's the browser as               01:14:15

2     it's operating.

3             Q.   Okay.   And you're aware of other Facebook

4     cookies as well; is that right?

5             A.   I am.   I would need to refresh my                 01:14:27

6     recollection.

7             Q.   And how would you refresh your

8     recollection?

9             A.   I would -- there's -- I would -- I'd

10    probably look back at the filing I helped put                   01:14:42

11    together which described all the Facebook cookies

12    from before.

13            Q.   Do you mean --

14            A.   I just don't remember the names of all of

15    them.                                                           01:14:55

16            Q.   Do you mean your notes?

17            A.   No, I do not mean -- mean my notes.         I --

18    the --

19            Q.   What filings did you put together which

20    described all the Facebook cookies from before?                 01:15:02

21            A.   Not that I personally put together.         It

22    was one that -- as Facebook, we had put together

23    that had all of them -- provided clarity on the

24    names and descriptions of all of them.          And I

25    just -- I'm struggling to remember the names of all             01:15:22

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1     the cookies.                                                   01:15:25

2             Q.   Where is that document?

3             A.   In a binder sitting across the room.

4             Q.   Can you look at the document?

5             A.   Yeah.                                             01:15:35

6                  MR. BLUME:    Objection.    Form.

7                  MS. WEAVER:    Mr. Blume, will you allow

8     him to look at the document that he needs to

9     testify regarding these cookies?

10                 MR. BLUME:    Objection to the scope of the       01:15:46

11    list of cookies as it relates to topic 4.

12                 MS. WEAVER:    I sent an email identifying

13    these cookies, and I'm assuming that's why he

14    prepared this.

15                 Why don't we go off the record.                   01:16:00

16                 SPECIAL MASTER GARRIE:      Actually, let's

17    wait.

18                 MS. WEAVER:    Okay.

19                 SPECIAL MASTER GARRIE:      I actually was on

20    these emails -- I was on these emails exchanged as             01:16:07

21    a Special Master, and I'm just a bit -- is that --

22    before we just say this emails and cookies, do you

23    want to -- are we all on the same page when we say,

24    did you receive the emails, Counsel Blume?           And are

25    we talking apples to apples with regards to the                01:16:25

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1     exhibit.                                                   01:16:28

2                So Counsel, we identified multiple

3     cookies.   You extend that to Counsel Blume,

4     correct?

5                MS. WEAVER:     Yes.                            01:16:37

6                SPECIAL MASTER GARRIE:       Now, you're

7     asking about those specific cookies, not other

8     cookies, correct?

9                MS. WEAVER:     Yes.

10               SPECIAL MASTER GARRIE:       Okay.    So then   01:16:42

11    have you -- and I believe those cookies we're

12    discussing are the ones that -- we -- that you

13    emailed about are the ones we're discussing now,

14    correct?

15               MS. WEAVER:     Yes.                            01:16:52

16               SPECIAL MASTER GARRIE:       Okay.    And

17    then --

18               MR. BLUME:     Do you want to put those up?

19               SPECIAL MASTER GARRIE:       Well, before --

20    she can share with the email but -- or we can enter        01:16:58

21    it into the record.      But I just want to make sure I

22    understand before I -- before we go off the record,

23    that I understand what -- what's occurring.

24               So now, you're asking the witness about

25    those cookies.   And Mr. Clark, when you said              01:17:14

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1     "cookies," were you referring -- you were referring           01:17:16

2     to the cookies that Counsel Weaver was asking you

3     about, correct?

4                 THE DEPONENT:     I was given an open-ended

5     question on a list of cookies.          And I just couldn't   01:17:26

6     recollect the list of cookies.          And so I -- I'm not

7     aware of --

8                 SPECIAL MASTER GARRIE:        That's why I'm

9     confused.

10                THE DEPONENT:     Yeah.                           01:17:31

11                SPECIAL MASTER GARRIE:        So when we're

12    saying list of cookies --

13                THE DEPONENT:     Yeah.

14                SPECIAL MASTER GARRIE:        -- what do you

15    mean by "list of cookies"?                                    01:17:35

16                MS. WEAVER:     You're asking me?

17                SPECIAL MASTER GARRIE:        Like what I'm

18    confused is, Counsel --

19                MS. WEAVER:     I want to ask this --

20                SPECIAL MASTER GARRIE:        -- when you were    01:17:39

21    emailed a list of cookies to Counsel Blume, we were

22    talking about those cookies.          But you said "list of

23    cookies," and I was just -- I just -- I want to

24    make sure we're all talking about the same cookies.

25                MS. WEAVER:     Let me be clear.      I am        01:17:53

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1     seeking to elicit testimony about the cookies that            01:17:54

2     I emailed Mr. Blume about.           It seemed to me that

3     Mr. Clark had prepared regarding those cookies,

4     Rob, and --

5                  SPECIAL MASTER GARRIE:        That's what I --   01:18:05

6     that's what I'm trying to figure out.

7                  MS. WEAVER:     Yeah.

8                  SPECIAL MASTER GARRIE:        That it's not

9     other cookies that aren't related to the ones you

10    asked about.     That's...                                    01:18:11

11                 MS. WEAVER:     Is there a document

12    that the --

13                 MR. BLUME:    And so put that -- if we put

14    that --

15                 MS. WEAVER:     Can I -- can I just ask, is      01:18:14

16    there a document that the witness prepared in

17    response to the questions I asked about those

18    cookies?

19                 SPECIAL MASTER GARRIE:        Maybe you could

20    provide --                                                    01:18:22

21                 (Simultaneously speaking.)

22                 MR. BLUME:    The list --

23                 SPECIAL MASTER GARRIE:        -- that email

24    with the list of the cookies just so we're all on

25    the same page.                                                01:18:26

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1                I apologize, Counsel Weaver, but -- I do              01:18:27

2     recollect it.   But I don't -- I don't have it right

3     before me right now.

4                MS. WEAVER:    You want me to just email it

5     around, Special Master Garrie, right now?                        01:18:35

6                SPECIAL MASTER GARRIE:         Well, if you can

7     put it on the screen so we can all see it --

8                MR. BLUME:    Put it on the screen.

9                SPECIAL MASTER GARRIE:         -- that would be

10    helpful.   Because it is, it is helpful.                         01:18:42

11               (Discussion off the stenographic record.)

12               MS. WEAVER:    Can we go off the record?          I

13    just need to find this.

14               SPECIAL MASTER GARRIE:         We can go off the

15    record while you find it, of course.                             01:19:27

16               MR. BLUME:    Should we break for lunch?

17               MS. WEAVER:    No.    I'm in the middle of

18    questioning.

19               SPECIAL MASTER GARRIE:         No.

20               MR. BLUME:    Okay.    Okay.     Just a               01:19:35

21    suggestion.

22               SPECIAL MASTER GARRIE:         We're in the

23    middle of a question.

24               MR. BLUME:    Just a suggestion.          Okay.

25               SPECIAL MASTER GARRIE:         Forget it.             01:19:39

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1                MR. BLUME:   Okay.                               01:19:39

2                THE VIDEOGRAPHER:      Okay.     We're off the

3     record.   It's 1:19 p.m.

4                (Recess taken.)

5                THE VIDEOGRAPHER:      We're back on the         01:25:27

6     record.   It's 1:25 p.m.

7          Q.    (By Ms. Weaver)      What information does

8     the datr cookie hold?

9                MR. BLUME:   Objection.        Form.   Scope.

10               THE DEPONENT:     While I didn't                 01:25:42

11    specifically prepare for this as part of my

12    representation -- as being a representative of

13    Facebook, in my personal experience, datr cookie is

14    a cookie that tracks the browser as a unique

15    identifier for the browser.                                 01:26:01

16         Q.    (By Ms. Weaver)      Does the datr cookie

17    contain a URL?

18         A.    I didn't specifically prepare for that as

19    part of my testimony, as a representative of

20    Facebook, but in my personal experience, I -- I do          01:26:21

21    not believe it contains any URL, but I don't know.

22               (Exhibit 349 was marked for

23    identification by the court reporter and is

24    attached hereto.)

25         Q.    (By Ms. Weaver)      Okay.     Take a look at    01:26:27

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1     know as a result of conversations with counsel, I'd             01:27:47

2     instruct you not to answer.

3                  THE DEPONENT:       I only know that because

4     it was part of the conversation with counsel.

5                  MS. WEAVER:     Rob, your position is you          01:28:03

6     telling him who knows about the datr cookie is

7     privileged; is that right?

8                  MR. BLUME:    No.     Your question was, who

9     gave the information with regard to this letter

10    about datr -- datr cookies.          That's privileged.         01:28:12

11                 MS. WEAVER:     Okay.

12                 MR. BLUME:    To the extent he knows that

13    information from discussions with counsel.

14         Q.      (By Ms. Weaver)       You're not prepared to

15    testify about the datr cookie, is that right,                   01:28:23

16    Mr. Clark?

17                 MR. BLUME:    Object -- objection.         Form.

18                 THE DEPONENT:       I'm not prepared to

19    testify about the datr cookie as a representative

20    of Facebook.     Only from personal experience.                 01:28:39

21         Q.      (By Ms. Weaver)       And you, from personal

22    experience, don't -- well, strike that.

23                 Do you know how -- what -- strike that.

24                 Do you know how the datr cookie

25    identifies a Web browser?                                       01:28:52

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1          A.     It -- I'm not prepared to answer that as              01:28:55

2     part of testifying as a representative of Facebook.

3     But in my personal experience, that -- the

4     datr cookie is a generated unique identifier to a

5     browser.    How that occurs and -- and exactly the                01:29:09

6     content in it, I do not know.

7          Q.     Who would know?

8          A.     I -- I -- I am not prepared to testify to

9     that as a representative of Facebook.          In my

10    personal experience, I don't have a specific name                 01:29:25

11    that I would know that would know that part of the

12    process.

13         Q.     Can you -- can you identify anybody that

14    you work with at Facebook who knows how the datr

15    cookie functions?                                                 01:29:41

16         A.     As of -- I -- I didn't prepare for that

17    as part of my testimony as a representative of

18    Facebook.    But in my personal experience, I -- I

19    would go look up who I would need to, to go have

20    that conversation.     I don't -- I don't know a name             01:29:59

21    offhand.

22         Q.     Okay.   Do you know -- okay.       Strike that.

23                What is the fpb cookie?

24         A.     I didn't specifically prepare for that as

25    part of my testimony representing Facebook.              But in   01:30:14

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1     my personal experience and -- I -- I would refer to       01:30:17

2     the -- I would refer to the filing for that detail.

3               The underscore FB cookie is set on the

4     third-party domain only if the advertiser/publisher

5     has installed the Facebook pixel business tool and        01:30:28

6     opted into the use of these cookies.

7               The cookie has its own -- or has a

8     browser identifier and -- and in the epoch time

9     when the cookie was created.       And then for

10    additional details, there's documentation on the          01:30:43

11    external developer Facebook side.

12         Q.   And you said the epoch time?

13              It's a little unclear.        I just didn't

14    understand what you said.

15         A.   The -- yeah, it's -- it's E-P-O-C-H.            01:31:01

16    It's -- it's a time commonly used in -- in computer

17    languages and UNIX time systems.        The -- the time

18    since -- and I should know it offhand -- but

19    sometime in 1969 or 1970, and the number of

20    seconds that's --                                         01:31:21

21         Q.   Sorry.     It's just that I couldn't

22    understand you and it didn't come through on the

23    transcript.   That's fine.

24              Okay.     What is the

25              MR. BLUME:     Objection.     Form.    Scope.   01:31:34

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1                 THE DEPONENT:     I didn't prepare to              01:31:37

2     specifically talk about that as a representative of

3     Facebook.

4                 But in my personal experience, those are

5     the cookies that are used for

                                                           And so

7     that's -- that's where




9          Q.     (By Ms. Weaver)     Do third parties

10    transmit the Facebook user ID through




12         A.     I didn't specifically prepare to talk to

13    that as a representative of Facebook.

14                But in my personal experience, those

15    cookies are only scoped to Facebook.com.           So third    01:32:15

16    parties should not have access to that.

17         Q.     They are not supposed to have access to

18    the Facebook user ID is your testimony?

19                MR. BLUME:   Objection.      Form.    And scope.

20                THE DEPONENT:     I didn't specifically            01:32:34

21    prepare for that as part of my testimony.

22                But in my personal experience, that --

23    that question is very, very generic and -- and --

24    and inaccurate.

25                What I had stated before is the                    01:32:46

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1     the

                          , and third parties are not

3     authorized or should not have access to those

4     cookies in the browser as they're scoped to

5     Facebook.com.                                                      01:33:07

6                     And to further reiterate, that is why we

7     have third-party application-scoped IDs and other

8     kinds of IDs, so that we don't give third parties

9     the canonical Facebook user ID.

10            Q.      (By Ms. Weaver)     You're referring to the        01:33:26

11    ASID; is that correct?

12            A.      That is correct.

13            Q.      Okay.   We'll come back to that.

14                    Why did Facebook create -- well, strike

15    that.                                                              01:33:35

16                    You said that the -- the fbc cookie is

17    used for authentication.

18                    How does that function?

19                    MR. BLUME:   Objection.      Form.    Beyond the

20    scope.                                                             01:33:46

21                    THE DEPONENT:     That -- that wasn't what I

22    said.        I didn't specifically prepare for that as

23    part of my testimony.

24                    But in my personal experience, the

25                                              are what are used        01:33:56

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1     for authentication and identify for users logged                 01:34:03

2     in.

3                     The_fbc cookie is a cookie that is set on

4     third-party domain only if the advertiser and

5     publisher has installed the Facebook pixel business              01:34:15

6     tool.        And it is set only if the click originated

7     from the Facebook service.

8                     For instance, when clicking on an ad in

9     Facebook newsfeed.           And the_fbc cookie contains an

10    encrypted user ID.                                               01:34:32

11            Q.      (By Ms. Weaver)     And who encrypts the

12    user ID?

13                    MR. BLUME:     Objection.    Form.    Scope.

14                    THE DEPONENT:     I didn't prepare for that

15    as part of my testimony.                                         01:34:43

16                    In my personal experience, I don't know.

17            Q.      (By Ms. Weaver)     Okay.    And so just

18    the record -- so the record is clear, you did not

19    prepare to testify regarding the fpb cookie,

20    the_fbc cookie, the

                             or fr cookies; is that right?

22                    MR. BLUME:     Objection.    And to the extent

23    the question asks for preparation beyond topic 4 is

24    beyond the scope.

25                    THE DEPONENT:     I did not.     As a -- as a    01:35:19

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1     representative of Facebook, I didn't prepare for            01:35:20

2     that topic.

3             Q.   (By Ms. Weaver)     And did you prepare for

4     whether or not those cookies contained information

5     such as fbid, fbtype or URL?                                01:35:26

6                  MR. BLUME:    Same objection.

7             Q.   (By Ms. Weaver)     Are you answering the

8     question?

9             A.   As a part of my preparation, as a

10    representative of Facebook, I did not prepare for           01:36:03

11    that.

12            Q.   Did you prepare to discuss the datr

13    cookie?

14                 MR. BLUME:    Objection, to the extent the

15    question seeks information beyond topic 4 is beyond         01:36:17

16    the scope.

17                 THE DEPONENT:     As a part of my

18    representation as a representative of Facebook, I

19    did not prepare for that.        But did share -- from my

20    personal experience.                                        01:36:30

21                 MS. WEAVER:     Okay.   We'll move on.

22            Q.   (By Ms. Weaver)     Do you know who at

23    Facebook would be qualified to discuss those

24    cookies?

25                 MR. BLUME:    Objection.     Form.             01:36:47

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1                  THE DEPONENT:     As a representative of --      01:36:52

2     as my preparation as a representative of Facebook

3     for this testimony, I didn't prepare for that.

4                  In my personal experience, I -- I do not

5     have a name.                                                  01:37:03

6            Q.    (By Ms. Weaver)     Okay.    Going back to

7     Exhibit 348.

8                  Let me just ask a question.          You

9     testified a moment ago that there was a binder in

10    the room that you used to prepare -- prepare that             01:37:21

11    included Exhibit 349; is that right?

12           A.    Yes.

13           Q.    And you reviewed and -- and recalled that

14    it referenced cookies, right?

15           A.    That is correct.                                 01:37:45

16           Q.    Did -- did you discuss whether you would

17    testify regarding those cookies?

18                 MR. BLUME:   Objection.      Form.

19                 THE DEPONENT:     I did not.

20           Q.    (By Ms. Weaver)     Okay.    Going back to       01:37:59

21    348.

22                 Do you see that there's a reference in

23    the first paragraph -- I'm sorry.           Okay.

24                 There's a sentence that says "This means

25    we need to                                                -   01:38:20

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1     record.   It's 1:53 p.m.                                  01:53:34

2                MR. BLUME:    So with regard to topic 4,

3     which speaks to the processes related to deletion,

4     pseudonymization, de-identification,

5     re-identification association and deletion of user        01:53:48

6     data and information, as that relates to cookies,

7     Mr. Clark is prepared to discuss whether Facebook

8     uses cookies as identifiers; specifically,

9     identifiers for users.     And if so, how Facebook

10    treats those cookies within the deletion framework.       01:54:07

11               It was -- it is -- it's our position that

12    to discuss the processes of that deletion

13    framework, to talk about the specific cookies, what

14    they are specifically, what information they get is

15    beyond the scope.                                         01:54:25

16               He's certainly prepared to talk about how

17    the framework -- deletion framework deals with

18    cookies, to the extent those cookies are

19    identifiers.   But not any specific cookie or its

20    purpose or the information it gets.                       01:54:37

21               SPECIAL MASTER GARRIE:      He can do the

22    high level, but getting into the technical ways of

23    how the cookies operationally work within the

24    different frameworks he describes is beyond the

25    scope.                                                    01:54:48

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1                  Is that what -- the gist of what we're             01:54:49

2     getting at?

3                  MR. BLUME:   Well, let -- let me clarify.

4                  He can talk about the -- the details of

5     how the deletion framework deals with cookies to                01:54:55

6     the -- to the extent cookies are -- are

7     identifiers.     But what is specific cookie seeks --

8                  SPECIAL MASTER GARRIE:     That's what I

9     mean.     The specific cookies that were emailed or

10    identified by plaintiffs, they identified a subset              01:55:08

11    of specific cookies, those interworkings of how

12    those specific cookies interoperate with those

13    frameworks is -- he is not prepared to testify

14    about.

15                 MR. BLUME:   Except to the extent that             01:55:21

16    they --

17                 SPECIAL MASTER GARRIE:     The technical.

18                 MR. BLUME:   Right.

19                 Except to the extent that those cookies

20    are considered identifiers and -- and are part of               01:55:26

21    the process.

22                 It doesn't matter what the specific

23    cookie is, as far as the deletion framework.            Every

24    cookie would be treated the same way.         And he's

25    prepared to talk about how the deletion framework               01:55:41

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1     deals with cookies as -- en masse.       But any               01:55:43

2     specific cookies, he -- is beyond -- we would argue

3     is beyond the scope.

4                 They're all treated the same way.          Every

5     cookie is treated the same way within the processes            01:55:55

6     of pseudonymization, de-identification,

7     re-identification, associations, deletion.         It

8     doesn't matter which cookie.      They're all treated

9     the same.

10                MS. WEAVER:   So if I may --                       01:56:09

11                (Simultaneously speaking.)

12                SPECIAL MASTER GARRIE:     Didn't -- didn't

13    he testify --

14                MS. WEAVER:   The topic includes

15    association.    We identified, for example, the named          01:56:13

16    plaintiffs' DYI files complaining -- containing

17    datr cookies precisely so we could understand what

18    data and information that's in the description.

19    User data and information is expressed through

20    those cookies, which the witness said and is                   01:56:33

21    factually correct, are identifiers.

22                So Facebook is collecting and tracking

23    through the datr cookie which websites users visit,

24    and I -- I attempted to get testimony about that

25    today after sending --                                         01:56:48

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1               SPECIAL MASTER GARRIE:      But he --                 01:56:50

2               MS. WEAVER:    -- an email two weeks ago

3     to -- only to find out in the deposition that in

4     preparation here, counsel has not had the person

5     prepare on any of those cookies.                                01:57:00

6               SPECIAL MASTER GARRIE:      Well, one sec.        I

7     don't want to -- let's not go down a rabbit hole

8     here because that's where we're heading and we

9     still have deposition left.

10              At the end of the day, prepared or not,               01:57:11

11    we can take that offline at a separate point.         The

12    bottom line is the witness that's here now isn't

13    prepared to speak about those specific technical

14    cookies that are associated with this specific

15    topic, as it relates to how you just described it.              01:57:28

16    It is what it is, right?

17              MS. WEAVER:    Yup, I understand.

18              SPECIAL MASTER GARRIE:      But --

19              MR. BLUME:    Hold on.   Hold on.

20              Just to be clear, he's prepared to                    01:57:36

21    testify about whether Facebook uses the datr cookie

22    as an identifier.   That's -- so he can speak to

23    that.

24              SPECIAL MASTER GARRIE:      But those were --

25              MR. BLUME:    And then if so, how -- what's           01:57:44

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1     that?                                                     01:57:47

2               SPECIAL MASTER GARRIE:      Where -- where

3     I'm confused is those cookies she's referring to

4     are those, those things, like this is -- those are

5     the specific cookies that consist of what you're          01:57:53

6     talking about.   So where I --

7               MR. BLUME:   Right.

8               SPECIAL MASTER GARRIE:      -- where I'm

9     getting confused is, those cookies that she

10    identified -- that are identified by plaintiffs           01:58:02

11    are -- I don't think all -- but a subset of the

12    exact topic you're talking about.      But --

13              MR. BLUME:   Any facts --

14              SPECIAL MASTER GARRIE:      -- those are

15    technical tools --                                        01:58:12

16              MR. BLUME:   Well, but if -- if -- yeah.

17    Are the -- are -- is the following cookie -- does

18    Facebook consider the following cookie to be an

19    identifier.   If yes, how does -- how does Facebook

20    deal with it within the deletion framework.               01:58:22

21              He's prepared to answer those questions.

22    But the -- but if -- if -- but the specific --

23    if -- if Facebook doesn't consider a specific

24    cookie to be an identifier, then it's not caught up

25    within the deletion framework, which is what he's         01:58:34

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1     here to testify about.                                        01:58:37

2                  MS. WEAVER:    So he's only here about

3     deletion.     But the topic talks about association of

4     user data and information.          That's what the topic

5     says.                                                         01:58:44

6                  MR. BLUME:    The processes of -- the --

7     the processes of pseudonymization,

8     de-identification, re-identification, association

9     and deletion of --

10                 MS. WEAVER:    Of --                             01:58:54

11                 MR. BLUME:    -- of user data --

12                 MS. WEAVER:    -- user data.

13                 MR. BLUME:    -- within that -- it's the

14    process --

15                 MS. WEAVER:    Association of user data and      01:58:58

16    information --

17                 SPECIAL MASTER GARRIE:       No, let me -- let

18    me --

19                 MS. WEAVER:    Yeah.

20                 SPECIAL MASTER GARRIE:       The part            01:59:01

21    that I -- so what she's saying is that those

22    cookies are used to associate with specific users

23    by Facebook as tools.       And she's asking him

24    specific questions about those cookies that are

25    believed and been represented, I believe, to                  01:59:14

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1     associate user activity or make the association of          01:59:17

2     a Facebook user and their activity.        Those specific

3     subset of cookies.     And then --

4               MR. BLUME:     Yes.   If Facebook --

5               SPECIAL MASTER GARRIE:       -- association is    01:59:29

6     done via that cookie.

7               MR. BLUME:     If Facebook -- if Facebook

8     considers the particular cookie to be an identifier

9     associated with a user and that -- and is part of

10    that process, he's -- he is happy to talk about it.         01:59:40

11              SPECIAL MASTER GARRIE:       But he can talk

12    about those cookies.

13              MR. BLUME:     He -- he can -- he can answer

14    the question whether -- whether Facebook considers

15    those cookies to be identifiers.       It says --           01:59:49

16              (Simultaneously speaking.)

17              SPECIAL MASTER GARRIE:       But to know how

18    they -- she wants -- the question is how does

19    Facebook associate.     How is that Facebook -- maybe

20    I'm missing something.     But I believe what's being       01:59:59

21    asked is how is that association done by Facebook

22    with those cookies.     Like what is the process

23    through which -- technical process through which

24    Facebook makes an association.

25              Maybe I'm misreading or mishearing what           02:00:13

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1     plaintiffs are asking about.       And my question is,        02:00:16

2     can he talk about how -- maybe I'm

3     misunderstanding.

4               Is he prepared to testify about the

5     technical process of how Facebook makes those                 02:00:25

6     associations?

7               MR. BLUME:   To the extent the -- by

8     "association," you mean identify -- identifiers?

9     In other words --

10              SPECIAL MASTER GARRIE:        The user.             02:00:42

11              MR. BLUME:   -- did he identify a user and

12    how that -- how that information is then captured

13    within these processes, as set forth in topic 4,

14    yes.

15              SPECIAL MASTER GARRIE:        So if we open up      02:00:52

16    the cookie, we can -- he can walk us through how

17    that cookie makes those associations?

18              MR. BLUME:   No.     He can identify whether

19    or not these cookies are considered by Facebook to

20    be identifiers, generally.      Not how they work.      But   02:01:04

21    whether they are in the process, in the deletion

22    framework, considered to be identifiers.          In other

23    words, used to identify the user.

24              SPECIAL MASTER GARRIE:        Okay.    The

25    specific --                                                   02:01:14

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1                 MS. WEAVER:    I think -- well, we can save       02:01:15

2     for another day --

3                 SPECIAL MASTER GARRIE:      The technical --

4     he's not --

5                 MS. WEAVER:    -- because it seems very           02:01:17

6     clear that despite the fact that plaintiffs

7     identified specific pages pulled out of the DYI

8     file with datr cookies associated with the named

9     plaintiffs, this witness does not -- according to

10    the instructions of counsel, doesn't interpret the            02:01:34

11    datr cookie to be an identifier for users.          And for

12    that reason, this witness is not prepared to

13    testify on that topic.

14                MR. BLUME:    Well, you never asked -- you

15    never asked him that question.       Ask him that             02:01:47

16    question.

17                MS. WEAVER:    Either way -- Rob, you

18    excluded your preparation --

19                MR. BLUME:    No, ask him the question.

20                THE COURT REPORTER:     Hold on.     Hold on.     02:01:52

21    Hold on.

22                SPECIAL MASTER GARRIE:      No, you guys are

23    doing this again.    Time out.     Time out.

24                We'll go off the record and I'll reset

25    everything.    And I will take time away from -- take         02:02:00

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1     time and add time, so we may end up at zero.                 02:02:02

2                  But the point being is stop and listen to

3     each other.     The net/net is that what Counsel Blume

4     is saying, the question you just asked,

5     Counsel Weaver, you can ask the question and hear            02:02:13

6     the answer.

7                  Did I miss that, Counsel Blume?

8                  MR. BLUME:    That's correct.     No, that is

9     absolutely correct.

10                 SPECIAL MASTER GARRIE:      And then based --   02:02:22

11    based on that answer, Counsel Weaver, you may

12    find --

13                 MS. WEAVER:    I think he said that's

14    incorrect.

15                 MR. BLUME:    No, I said that's absolutely      02:02:28

16    correct.     Ask him if he considers the datr cookie

17    to be an identifier.       If so, how it fits in the

18    process.     And ask for --

19                 MS. WEAVER:    But the question is

20    whether -- sorry.                                            02:02:36

21                 The question is whether it's associated

22    with user data and information.         That's the topic.

23                 MR. BLUME:    The --

24                 MS. WEAVER:    Facebook's process of

25    association of user data and information.                    02:02:46

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1                 MR. BLUME:    And -- and for purposes of       02:02:52

2     pseudonymization, de-identification,

3     re-identification, that association is identifiers.

4     And so asking if it's -- if he considers it for

5     purposes of the deletion framework, which is what          02:03:02

6     he's here to testify, whether it's considered an

7     identifier.    If it is, it fits into the process.

8     If it's not, then it doesn't.        He's here to talk

9     about that deletion, de-identification,

10    pseudonymization and association with regard to            02:03:15

11    those that -- and within that process.          Just ask

12    him the ordinary question.

13                SPECIAL MASTER GARRIE:      That's a broad

14    question.

15                MS. WEAVER:    I'll just -- Special Master,    02:03:23

16    I don't want to waste any more time.         It's very

17    difficult to take depositions and have arguments

18    like this in the middle of a dep.        So let's --

19                MR. BLUME:    I agree.

20                MS. WEAVER:    -- refer this to a different    02:03:32

21    time.   And I would just note -- have you pay

22    attention, Rob, to the Oxford comma.         In topic --

23    in topic 4, there's a comma after association.

24                SPECIAL MASTER GARRIE:      Wait.    Wait.

25                MS. WEAVER:    All of those topics are         02:03:42

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1     individual.                                                   02:03:43

2                  SPECIAL MASTER GARRIE:      I think -- I

3     think you made a good point.         We're not

4     accomplishing anything here.

5                  MS. WEAVER:    Right.                            02:03:48

6                  SPECIAL MASTER GARRIE:      I give 15

7     minutes --

8                  MR. BLUME:    Right.

9                  SPECIAL MASTER GARRIE:      -- back to

10    plaintiffs here because this was at my request.               02:03:50

11                 I was just trying to see if we could

12    avoid the downstream issue that looks inevitable,

13    to come.     So we will -- we will put a pin in it and

14    I will -- we will -- we will figure if it is

15    appropriate or whether it was or was not, or so on            02:04:06

16    and so forth.

17                 I was hoping it would be resolved herein,

18    but it does not seem foreseeable.

19                 MR. BLUME:    Well, not -- yeah.

20                 SPECIAL MASTER GARRIE:      I understand,        02:04:15

21    Counsel Blume, your position.         I fully get it.     I

22    understand, Counsel Weaver, your position.            I

23    realize there's a fundamental issue there that will

24    not be resolved during this break.

25                 So everybody should go get lunch, and we         02:04:25

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1     will resume -- I was duly hopeful that I was                    02:04:26

2     misreading what I thought, but it is fine --

3                 MR. BLUME:    Well, welcome your -- this

4     question, as you --

5                 SPECIAL MASTER GARRIE:          I mean, I thought   02:04:42

6     that -- you know, fair enough.         I think there's

7     just a -- so we can take a break.            Everybody get

8     lunch.    And we'll put a pin in it and we'll resume.

9                 MS. WEAVER:     Okay.    When do we want to

10    get -- come back?                                               02:04:50

11                MS. LAUFENBERG:     We're still on the

12    record, by the way.

13                THE COURT REPORTER:       Can we go off?

14                THE VIDEOGRAPHER:       Sure.     We're off the

15    record.    It's 2:05 p.m.                                       02:05:01

16                (Recess taken.)

17                THE VIDEOGRAPHER:       We're back on the

18    record.    It's 2:55 p.m.

19         Q.     (By Ms. Weaver)     Hello, Mr. Clark.

20                Did you have a good lunch?                          02:55:21

21         A.     I did.

22         Q.     Okay.    You know that you're still under

23    oath, right?

24         A.     That is correct.

25         Q.     Okay.    I'd like to ask you to just turn           02:55:29

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1     can't answer that.     But I can answer that I believe     05:04:43

2     that's part of why we make UII even broader.

3          Q.   (By Ms. Weaver)     Broader than what?

4          A.   Specific -- when you get to the

5     definition of UII meaning both types of data, but          05:04:55

6     combinations of types of data.

7          Q.   Okay.   As you sit here today, can you

8     state what personal information is under the CCPAA,

9     as referenced in this document?

10              MR. BLUME:     Objection.    Form.    Scope.     05:05:18

11    Calls for a legal conclusion.

12              THE DEPONENT:     I -- I can't quote the

13    CCPA off the top of my head.

14         Q.   (By Ms. Weaver)     So you don't know what

15    the definition of "is personal information under           05:05:28

16    the CCPA" as referenced in this document?

17         A.   As -- as I just am seeing this document

18    for myself, I -- I'm familiar with personal

19    information under CCPA, but just don't -- don't

20    have that analysis or didn't prepare for -- to             05:05:45

21    answer that question.

22         Q.   Do you know what personal infor- -- how

23    personal information is defined under the CCPA?

24              MR. BLUME:     Objection.    Calls for a legal

25    conclusion.   Form.    And scope.                          05:06:03

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1                 THE DEPONENT:     I -- I don't know how to         05:06:15

2     answer that.

3                 I -- in -- in my personal experience, I

4     would work with product counsel and counsel.             And

5     in that definition, I -- I -- as I said, I did not             05:06:24

6     prepare to have an answer for that today.

7          Q.     (By Ms. Weaver)     Okay.    So it's really --

8     this really is very simple.       It's a yes-or-no

9     question.

10                As you sit here today, can you define              05:06:33

11    personal information under the CCPA?

12                MR. BLUME:   Same objections.

13                THE DEPONENT:     I'm -- I'm truly

14    struggling to answer that, but -- I have prepared

15    context.    But I can't answer yes or no to that.              05:06:43

16         Q.     (By Ms. Weaver)     Isn't the answer "no,"

17    that you don't know, as you sit here today, how

18    CCPA defines personal information?

19         A.     I do in my personal experience and as I

20    work as a product manager day-to-day, but I do so              05:06:57

21    with guidance and direction from counsel.           And I --

22    I didn't -- I don't have a prepared answer or

23    didn't prepare to answer it in this context.

24         Q.     Well, what is your personal understanding

25    of what personal information is under the CCPA?                05:07:11

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1             A.      As I said, I've worked with counsel on           05:07:32

2     that.        I just -- I don't have it at the end of the

3     day for you.

4                     If -- if you'd like to put it up, I can

5     read what it is.         I just -- I don't have that             05:07:40

6     answer right here in front of me.

7             Q.      Okay.   So that's fine.

8                     So the answer is you don't know, right?

9                     MR. BLUME:   Same objections.

10                    THE DEPONENT:     As a representative of         05:07:52

11    Facebook, I didn't prepare to answer that.               In my

12    personal experience, I work with it.              But I -- I

13    just -- I can't articulate it right now.               So I --

14            Q.      (By Ms. Weaver)     So the answer is, as you

15    sit here right now, you don't know what the                      05:08:11

16    definition of personal information under the CCPA

17    is, correct?

18                    In your personal or in the corporate

19    capacity; is that right?

20                    MR. BLUME:   Objection.      Scope.              05:08:21

21                    You can answer yes or no in your personal

22    capacity.

23                    THE DEPONENT:     In -- in my personal

24    capacity, I work with product counsel on a regular

25    basis on the definition of what personal                         05:08:31

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1     information is under CCPA, which is a long and                  05:08:33

2     nuanced answer in the context of working with that

3     data every day, because I have come up with and

4     developed that definition under guidance and

5     direction of counsel.                                           05:08:45

6               In my personal experience, I -- I -- I

7     did not prepare to answer that question, so I

8     cannot answer that I don't know.

9          Q.   (By Ms. Weaver)        Okay.    Well, so -- we

10    have a 30(b)(6) deposition here.          You've asked for      05:09:03

11    this document that refers to personal information

12    under CCPA, which is part of the definition of UII,

13    which is within the scope of what data is deleted,

14    and I'm just answering -- I'm just asking, for

15    the jury, can you tell me today, as you sit here,               05:09:20

16    how does Facebook define personal information?

17              MR. BLUME:     Objection.       Form.    And scope.

18    And calls for a legal conclusion under the CCPA.

19              THE DEPONENT:        And I -- I really am

20    trying to be responsive.        And that's why I'm making       05:09:39

21    sure that it's on the record that I'm answering

22    that I don't know.     In --

23         Q.   (By Ms. Weaver)        Okay.

24         A.   -- preparation for this, I came prepared

25    to answer the things related to question 4.               And   05:09:48

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1     am -- am not counsel and can't make a legal                   05:09:52

2     conclusion to that.

3          Q.   I'm not asking for a legal conclusion.

4               I am asking for Facebook's understanding

5     of what personal information is.                              05:10:03

6          A.   And as -- as I've already identified, it

7     wasn't in the scope of what I prepared in the

8     context of this deposition for the jury.

9               MS. WEAVER:    And, Rob, why is it that you

10    think the definition of personal information is not           05:10:23

11    within the scope of user data and information?

12              MR. BLUME:    It's defined in the CCPA,

13    which is a statute, and that is the definition.

14    Whether he can articulate it word for word or

15    whether he refers to the CCPA's definition is what            05:10:37

16    it is under the statute.

17              MS. WEAVER:    I believe this is what --

18              (Simultaneously speaking.)

19              MR. BLUME:    That is the definition --

20              MS. WEAVER:    Rob, if you listen to the            05:10:46

21    question -- because you're objecting off point.

22              Could you please read back --

23              MR. BLUME:    Your -- your question was --

24              SPECIAL MASTER GARRIE:      All right.      Stop.

25    We are not going off the rails.      We are way too far       05:10:52

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1     into this today.                                          05:10:55

2                 So read the question back.

3     Counsel Blume, if you want to respond, and you feel

4     you're responding, please do so.        And we'll note

5     the objection for the record and we will then move        05:11:05

6     forward.

7                 MS. WEAVER:    The question is at page 196,

8     line 9.

9                 MR. BLUME:    Can you read it again?

10                SPECIAL MASTER GARRIE:      196.              05:11:31

11                MR. BLUME:    The question I have is --

12                MS. WEAVER:    I'm sorry.    It's line 3.

13                MR. BLUME:    Yeah, I'm -- I'm -- you're

14    asking me -- I'm happy to read the question.

15                "So the answer is, here right now, you        05:11:37

16    don't know what the definition of personal

17    information is" --

18                MS. WEAVER:    Rob.

19                MR. BLUME:    -- "under the CCPA; is that

20    correct?"                                                 05:11:44

21                That's the question.

22                MS. WEAVER:    Rob, it's line 3.

23                I'm not asking for a legal conclusion.

24    This is the question:      What is Facebook's

25    understanding of what personal information is?            05:11:51

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1                MR. BLUME:    He said it was the CCPA.         And   05:11:55

2     that's a statute that you're --

3                (Simultaneously speaking.)

4                MS. WEAVER:    Okay.   But you're not

5     testifying, Mr. Blume --                                        05:11:59

6                SPECIAL MASTER GARRIE:      Wait.    Wait.

7     Everybody just -- for some reason you guys

8     interpret my silence as a permission to keep

9     talking.

10               The objection is pending.       I hear it.           05:12:06

11    And we will go from there.

12               Counsel Weaver, what was -- so I'm

13    looking at this.   You asked a question to the

14    witness.   The witness -- all right.       It says "I'm

15    not asking for a legal conclusion.       I'm asking for         05:12:25

16    Facebook's understanding of what the personal

17    information.

18               And then there's an answer.

19               And what is your -- your -- and then --

20    so help -- walk -- work with me.                                05:12:36

21               So what is the issue, Counsel Weaver?

22               MS. WEAVER:    I would like an answer to

23    the question of what Facebook's understanding of

24    personal information is.

25               SPECIAL MASTER GARRIE:      Okay.    That is         05:12:46

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1     the question that is pending to the witness.              05:12:48

2               Is there an objection, Counsel Blume?

3               MR. BLUME:   The objection is to the

4     extent it calls for a legal conclusion.

5               SPECIAL MASTER GARRIE:       Noted --           05:13:00

6               MR. BLUME:   That is -- that's -- that's

7     my objection.

8               SPECIAL MASTER GARRIE:       Noted for the

9     record.

10              Mr. Clark, please answer the question to        05:13:06

11    the best of your ability.

12              THE DEPONENT:     To -- to the best of my

13    ability, as a representative of Facebook, I -- I

14    didn't prepare for that in -- in the context of

15    answering No. 4.                                          05:13:18

16              In my personal experience, the definition

17    that I have, I have gotten in working under

18    guidance and direction of counsel for the sake of

19    product work.   And -- and I -- I don't know what I

20    can say and what I can't say.                             05:13:39

21              I'm -- if -- if I were asked and even if

22    I were read is the CCPA definition of this, this,

23    then I could give an observation or factual answer,

24    I could answer that.   But understanding implies

25    much more --                                              05:14:03

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1                 SPECIAL MASTER GARRIE:       Counsel Weaver,          05:14:05

2     you can follow --

3                 THE DEPONENT:     -- than what I had

4     prepared.

5                 SPECIAL MASTER GARRIE:       Go ahead.       Sorry.   05:14:08

6     I didn't mean to interrupt.

7                 THE DEPONENT:     Oh, than -- than what I

8     had prepared for.

9                 SPECIAL MASTER GARRIE:       Counsel Weaver.

10                MS. WEAVER:     This is a fundamental                 05:14:18

11    question to the case and relates directly to the

12    data that is deleted and collected by Facebook.

13                What is Facebook's definition of personal

14    information?

15                I'm not asking for a legal conclusion.                05:14:27

16    I'm just asking --

17                SPECIAL MASTER GARRIE:       Hey.

18                MS. WEAVER:     Yeah.

19                SPECIAL MASTER GARRIE:       The witness

20    testified he's not prepared to answer that on                     05:14:33

21    behalf of Facebook as the witness -- I mean, I can

22    read you back what he said, but -- I mean --

23                MS. WEAVER:     Okay.   Well, I'll move on.

24    Sanctionable.

25         Q.     (By Ms. Weaver)     Looking at this                   05:14:49

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1     what was said.                                             05:33:41

2                 Okay.     Noted for the record.

3                 But the definition of how Facebook

4     defines personal information, I would go with being

5     a critical concept for the -- the case as its              05:34:00

6     entirety.    And so for Facebook, it may -- I'll

7     leave it to the parties, having read the

8     stipulation to -- having reserved all the time and

9     allocated accordingly -- to have this conversation

10    among themselves, but I would -- I would encourage         05:34:21

11    the idea of producing a witness that can define how

12    Facebook defines personal -- personal --

13                MR. BLUME:     If I may, Your Honor --

14                SPECIAL MASTER GARRIE:       -- information.

15                MR. BLUME:     Yeah.   If I may --             05:34:36

16                MS. WEAVER:     You're interrupting him.

17                MR. BLUME:     How -- if I may, personal

18    information is defined by Facebook as it sets forth

19    in Exhibit 359.       That is the definition under the

20    CCPA.    Facebook does not use the term "personal          05:34:45

21    information."       That's why we -- it -- as the

22    witness said, the Facebook term for that -- for

23    something that subsumes personal information is

24    UII.    That is the term that Facebook uses.         And

25    it's important to note, that as the document --            05:35:03

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1               SPECIAL MASTER GARRIE:     But --                05:35:07

2               MR. BLUME:   -- says, UII does not

3     directly map to personal information, so...

4               SPECIAL MASTER GARRIE:     Well, that's --

5     that's where I got confused.                               05:35:11

6               So if someone who does know the CCPA and

7     the different articles and can recite it to you, I

8     have a serious concern with the very construct that

9     it subsumes the definition of personal information,

10    so I would expect that Facebook --                         05:35:21

11              MR. BLUME:   Well --

12              (Simultaneously speaking.)

13              SPECIAL MASTER GARRIE:     -- can product a

14    witness -- don't interrupt me again.      You interrupt

15    me again and we will have a problem.                       05:35:27

16              MR. BLUME:   Okay.

17              SPECIAL MASTER GARRIE:     Okay.    Thank you.

18              MR. BLUME:   Okay.

19              SPECIAL MASTER GARRIE:     Thank you very

20    much.                                                      05:35:34

21              So what I'm trying -- and what I was

22    saying is that it subsumes the definition.

23    Thereby, they must have some understanding of what

24    constitutes personal information.

25              I have reviewed countless exhibits and           05:35:44

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1     materials your client has produced referencing            05:35:47

2     personal information as a term and a concept.

3     Whether or not you personally want to take a

4     position on behalf of your client that they have no

5     position as to what personal information is in the        05:35:58

6     786-plus documents that I can cite to you that use

7     the term "personal information" is a bit

8     disconcerting to me.

9               But with that even said, I still expect

10    that Facebook would feel incentivized to provide a        05:36:12

11    witness that could attest to how it defines the

12    concept of personal information, which is subsumed

13    by this broader construct.    Because I can't exactly

14    understand how they are differentiating the two.

15    And I read the exhibit and I heard the testimony.         05:36:28

16              So I advise you to take this under

17    advisement accordingly before I order it.        And I

18    will encourage you again that whatever witness --

19    if he's not prepared to testify as to how Facebook,

20    as a corporate representative, defines personal           05:36:45

21    information, that's noted for the record and will

22    be reflected accordingly as one of your comments.

23              We're done.    We're off the record.

24              MR. BLUME:    All right.    I do not mean --

25              SPECIAL MASTER GARRIE:      Thank you very      05:36:58

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1     much.                                                          05:36:58

2                  MR. BLUME:   I did not mean subsumed.       I

3     meant to read the document, which is directly --

4     does not directly map to personal information.

5     That is how we define the term.                                05:37:06

6                  SPECIAL MASTER GARRIE:     Right.     I know.

7     But it -- so I've read the documents, actually, all

8     of them.     And there is -- if Facebook's position is

9     they cannot define what personal information is,

10    that is fine.                                                  05:37:21

11                 (Simultaneously speaking.)

12                 MR. BLUME:   That's not --

13                 SPECIAL MASTER GARRIE:     They can go on

14    the record -- all that was asked is how Facebook

15    defined personal information and he said he is not             05:37:28

16    prepared to testify to that.

17                 I said that is fine.     Right.     I said that

18    is fine.     I understand it was a concept of that

19    document.     But the question was a broader question

20    asked by the attorney and the witness stated that              05:37:40

21    they were not prepared -- maybe there was

22    confusion.     Maybe there wasn't.     Fine.

23                 My point is, is Facebook would -- I would

24    recommend find a witness that can define how

25    Facebook, the company, defines personal                        05:37:55

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1      information.     That's it.                                      05:37:58

2                   There's no further conversation.

3                   MR. BLUME:   Under- -- understood.

4                   And with all due respect, it's -- he --

5      all he said was he couldn't reflect -- he couldn't               05:38:05

6      testify to the definition under the CCPA, which is

7      how it's referenced in this document.          That is his

8      testimony.

9                   SPECIAL MASTER GARRIE:      Well, there was

10     actually multiple -- there -- there -- well, it                  05:38:17

11     doesn't matter.     The testimony is captured for the

12     record and -- and I read 196, line 3, accordingly,

13     with the subsequent six lines of answers, as well

14     as the four other references.

15                  But that's neither here nor there.          And I   05:38:27

16     will leave it in the hands of counsel to review it.

17                  All I'm saying to Facebook is, find a

18     witness that can define what personal information

19     is, if there is not an agreement on this.           Because

20     I get a lot of briefs from everybody citing to this              05:38:43

21     constructs of personal information and not personal

22     information, as does Judge Chhabria.          And if your

23     client doesn't have a definition, we'd all like to

24     know.

25                  So with that in mind, we're going to go             05:38:55

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1      saying what I just told you.                                 01:35:45

2           Q.   Okay.    What changes to its infrastructure

3      has Facebook made since 2007 to facilitate the

4      uploading and sharing of video content?

5                MR. SCHWING:     The question is vague.            01:36:18

6                THE DEPONENT:     I -- I understand -- I

7      think I understand what you're asking.

8                And the way I think about it is from the

9      time that Facebook allowed for video on the

10     platform, let's -- let's say maybe 2007.         And I       01:36:36

11     think you're asking me from -- are you asking me

12     from 2007 through today infrastructure changes that

13     have -- and then I'll let -- is that what you're

14     asking me and --

15          Q.   (By Mr. Gould)     Right.     Right.   So let me   01:36:52

16     then rephrase.

17          A.   Right.

18          Q.   I'm asking about infrastructure changes

19     from 2007 to the present that have been made in

20     order to facilitate access to --                             01:37:05

21          A.   Right.

22          Q.   -- uploading or sharing of video content.

23               Is that a subject you're prepared to --

24     to talk about?

25               MR. SCHWING:     I guess --                        01:37:25

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1                THE DEPONENT:     Without getting into too      01:37:27

2      much detail about the -- the changes themselves,

3      here's what I am prepared to talk about.

4                If you just look at the amount of

5      video -- or maybe in this case we'll call it              01:37:43

6      digital video, right, as opposed to video that we

7      were discussing -- like nondigital video that we

8      were discussing.

9                But if you think about the number of

10     users on Facebook, and if you think about whether         01:37:55

11     or not video was popular -- and, obviously, I think

12     it's fair to say that video has become a more

13     popular medium over time.

14               And if you were to compare users'

15     appetite for sharing video, you know, producing --        01:38:14

16     making video and watching video, and if you were to

17     think about the growing popularity of video as a

18     medium and also think about the user increase, in

19     order to successfully allow users to upload video

20     and -- and -- and interact with video and watch           01:38:43

21     video on the platform, what I can tell you is

22     infrastructure improvements had to take place,

23     you know, at a high level.

24               And I'm not prepared to talk about the --

25     the technical -- I mean, if -- if I think about the       01:39:05

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1      topic that I'm prepared to talk about, the changes           01:39:11

2      that we made to allow for the ways that users

3      interact with video, of course, we want users to

4      have a successful experience.

5                So what does that mean.       It means, it         01:39:25

6      doesn't -- the upload doesn't fail or the playback

7      doesn't fail.

8                So at a high level, I can only say

9      that -- a quality experience, a good user

10     experience like that is important to Facebook.         So    01:39:44

11     infrastructure improvements to allow for a larger

12     number of video files being uploaded and played

13     had to have -- had to have taken place.         And -- and

14     that's really the depth of the infrastructure

15     preparation that I did.                                      01:40:01

16          Q.   (By Mr. Gould)     Okay.    So in order to not

17     waste your time, are you prepared to talk, at a

18     high level, about the kind -- general kinds of

19     infrastructure changes that have been made in order

20     to facilitate the access to uploading of and                 01:40:18

21     sharing of video content?

22               MR. SCHWING:     We haven't -- just to be

23     clear, we haven't designated Mr. Miller to talk

24     about like technical infrastructure.

25               MR. GOULD:     Okay.                               01:40:34

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1                  MR. SCHWING:     But, you know, storage or    01:40:35

2      showing video, that's not something we understood

3      that you --

4                  MR. GOULD:     Okay.

5                  MR. SCHWING:     -- you intended to ask       01:40:42

6      about.    And that's not part of topic 9c, as we've

7      understood it.

8                  Mr. Miller is focused on -- on the

9      actions taken, decisions made that would allow

10     people to kind of interact, like on surfaces that         01:40:55

11     he's been discussing.

12                 So I hope that -- that helps to clarify.

13     He's not going to be able to talk about like the

14     servers and the server system and that kind of

15     thing.                                                    01:41:05

16          Q.     (By Mr. Gould)     If I were to ask you,

17     you know, Mr. Miller, since 2007, what are the

18     major investments that Facebook has made,

19     generally, in order to facilitate user access to

20     and sharing of and uploading of video content, is         01:41:26

21     that, at a high level, a question that you're

22     prepared to answer?

23          A.     I would say that the -- the lowest level

24     that I could answer is improvements in storage, in

25     coding and playback.       And not -- I'm not prepared    01:41:52

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1      to talk -- I think that that would be the                   01:42:03

2      high-level answer to your original question.

3                But regarding the specifics under those

4      high-level areas, I didn't find that as relevant to

5      my topic and the research that I did.                       01:42:20

6           Q.   Okay.    What improvements since 2007 --

7      major improvements since 2007 have been made in

8      order to facilitate access to sharing of and

9      uploading of video content?

10          A.   I can give examples of the way that we            01:42:52

11     recommend or rank video as a -- as basically a -- a

12     bucket of improvements that we've made.

13          Q.   What -- okay.    Well, then -- let me then

14     be more specific and we'll talk about maybe kinds

15     of improvements.                                            01:43:17

16          A.   Okay.

17          Q.   That might focus our discussion.

18               One of those kinds that you mentioned

19     earlier was improvements in storage.

20               Since 2007, what are the major, at a high         01:43:26

21     level, improvements that Facebook has made in order

22     to facilitate access to sharing of, uploading of

23     video content?

24          A.   Oh, you -- I'm confused.      You mentioned

25     storage, and then you mentioned my topic.        But help   01:43:49

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1      would be great.                                               10:31:26

2                   (Exhibit 619 was marked for

3      identification by the court reporter and is

4      attached hereto.)

5                   MR. SPRINGER:     Got it.                        10:31:31

6                   The first document has been introduced as

7      Exhibit 619.

8           Q.      (By Mr. Gould)       Okay.   So that should be

9      showing up, and let me know when it's up for you,

10     Mr. Fahey.                                                    10:31:46

11          A.      I have it up.

12          Q.      Okay.    Fabulous.

13                  And did you review this document in

14     advance of this deposition?

15          A.      I did.                                           10:31:52

16          Q.      Okay.    Let -- let me just ask you a

17     couple of preliminary questions just so -- because

18     I don't want to waste your or anyone's time.

19                  Are you prepared today to testify about

20     what drove changes in these numbers?                          10:32:05

21                  MR. SCHWING:     Object to form.

22                  THE DEPONENT:     When you say "drove

23     changes," I -- I wouldn't necessarily know exactly

24     what you mean there.        Could you --

25          Q.      (By Mr. Gould)       Sure.   Of course.          10:32:29

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1           A.   -- be a little bit more specific.                    10:32:31

2           Q.   Fair to say that a lot of the numbers

3      we're going to be talking about today, numbers that

4      you reviewed in advance of this deposition, went up

5      and down, yes?                                                 10:32:42

6           A.   Yes, the numbers changed.

7           Q.   Those are the kinds of changes I am

8      talking about.

9                And by "drive," I just am talking about

10     what caused them to go up and down.                            10:32:55

11               Does that clarify sufficiently for you

12     what I'm talking about?

13               MR. SCHWING:       Object to form.

14          Q.   (By Mr. Gould)       All I'm asking is whether

15     you understand what I mean.       That's all.                  10:33:08

16          A.   I understand what you mean by drive, yes.

17          Q.   Okay.     Great.

18               So -- and, again, this is so that we're

19     not wasting time.

20               Are you prepared today to testify about              10:33:21

21     what drove changes in the numbers we're going to be

22     talking about today?

23               MR. SCHWING:       Object to form.

24               THE DEPONENT:       I feel comfortable talking

25     about the numbers as they're presented.           My area of   10:33:37

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1      expertise is not product strategy or -- or anything       10:33:42

2      else --

3           Q.   (By Mr. Gould)     Okay.

4           A.   -- that might -- might have had -- had an

5      impact on how the numbers changed.                        10:33:52

6                MR. GOULD:     That is super helpful.

7      That's great.

8                I just wanted to say, for the record,

9      that -- that Mr. -- Mr. Schwing, we'll expect that

10     the -- the witness designated to testify on               10:34:01

11     subtopic c will be able to testify on what drove

12     changes in the numbers.

13          Q.   (By Mr. Gould)     I want to direct your

14     attention, Mr. Fahey, again to the -- to the

15     spreadsheet that's open here.                             10:34:18

16               Are -- are you prepared to testify about

17     the resources that Facebook devotes to keeping

18     track of this data?

19               MR. SCHWING:     Object to form.

20               THE DEPONENT:     Again, what I -- what I       10:34:46

21     prepared for was to talk about the numbers.

22          Q.   (By Mr. Gould)     In other words, you're

23     prepared -- oh, sorry.     Go ahead.

24          A.   No, please, go ahead.

25          Q.   In other words, you're prepared to talk         10:34:58

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                  Exhibit K
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From:                             Lesley Weaver <lweaver@bfalaw.com>
Sent:                             Monday, May 16, 2022 9:56 AM
To:                               Kutscher Clark, Martie; Blume, Robert C.; Cari Laufenberg; Ring, Rose; *** Service-FB-
                                  CA_MDL
Cc:                               Daniel Garrie; Anne Davis; David Ko; Derek Loeser; Matt Melamed; Julie Law; Ulmer,
                                  Mike M.
Subject:                          FB 30(b)(6) - Identification of documents and topics for Topic 10 (deposition of Amy
                                  Lee, set for Thursday, May 16)


Good morning,

I hope everyone had a good weekend.

Pursuant to the Amended Deposition Protocol, below please find a list of documents that Plaintiffs may mark in the
upcoming 30(b)(6) deposition of Facebook relating to Topic 10 set for Thursday, May 16, 2022. For ease of reference,
here is Topic 10:

        Facebook’s calculation of revenues, gross profits, and net profits recognized by Facebook relating to Users’ Data
        or Information, including but not limited to how Facebook monetized User Data or Information, how Facebook
        quantified the value of sharing User Data or Information, and Facebook’s business and marketing strategy
        regarding the monetization and quantification of User Data or Information.

To help focus witness preparation, Plaintiffs include here the seven categories of revenue information the parties have
previously discussed in the context of Facebook’s search for financial documents, including but not limited to how
Facebook monetizes data acquired about users by sharing it, matching it with other data, making it available through
APIs, etc. These topics, provided before and most recently on February 23, 2022, include:

       (1) Financial/economic impact of transition to API v1 to v2 and other APIs, including, but not limited to impact of
deprecating friends and read permissions, and the impact of whitelisting apps and partners;

         (2) Financial/economic impact of expanding or limiting privacy restrictions (including changing privacy controls
available to users), or limiting or expanding access to user data via whitelisting apps and partners, including Facebook’s
calculation of partners’ revenues to Facebook throughout the Class Period, and the impact of cutting their access to data
off, suspending them from the platform, or anything in

        (3) Marketing and business plans (including any internal financial plans, presentations, or onboarding materials)
related to the valuation/quantification/monetization of Facebook user data, including how Facebook uses off-platform
user data to track conversions used in calculating revenue;

        (4) Documents and materials Facebook prepared for any third party re quantification of Facebook data and/or
user content and information, including in connection w/ 2012 IPO;

        (5) Documents related to any payments made to third parties for access or use of user data (e.g., Onavo, paying
data brokers for data, etc.);

        (6) Financial impact of third parties accessing or using FB user content and information in ways that violate FB
platform policies (including, but not limited to, e.g., documents supporting Facebook’s positions in Rankwave lawsuit in
which it valued the amount of data Rankwave was wrongfully obtaining);

                                                            1
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        (7) Documents supporting Facebook’s public reporting of revenues and FB’s, including but not limited to average
revenue per user (ARPU), lifetime value of users (LTV), user engagement, active users, and the information relating to
users Facebook made available to third parties to generate those revenues


FB-CA-MDL-01151469

FB-CA-MDL-01191359

FB-CA-MDL-01191318

FB-CA-MDL-00178146

FB-01221432

FB-CA-MDL-02335774

FB-CA-MDL-02335850-854

FB-CA-MDL-00183183-198

FB-CA-MDL-02140898-900

FB-CA-MDL-01755575

PwC_CPUP_FB00027903

FB-CA-MDL-00237409-423

FB-CA-MDL00203217-242

FB-CA-MDL-01662971-74

FB-CA-MDL-01813445-447

FB-CA-MDL-00214777-779

FB-CA-MDL-02148187

FB-CA-MDL-02255648=50

FB-CA-MDL-02261206

FB-CA-MDL-01191149-53

FB-CA-MDL-02861135

FB-CA-MDL-03055702-707

META-CA-MDL-0000411990


                                                           2
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FB-CA-MDL-01835372

FB-CA-MDL-00165410-493 (see Bates ## ending at 460-463)

FB-CA-MDL-00186675-682

FB-CA-MDL-03122034-39

FB-CA-MDL-029550555-559

FB-CA-MDL-02134359-362

FB-CA-MDL-0268005464

ACXM_FB2_1815367

FB-CA-MDL-00237409

FB-CA-MDL-02944234

FB-CA-MDL-01151469

FB-CA-MDL-03103473

FB-CA-MSL 0310207.PPTX

FB-CA-MDL-02003962

FB-CA-MDL-02135819

FB-CA-MDL-01994696

FB-CA-MDL-01995859

FB-CA-MDL-02980484

FB-CA-MDL-02882405

FB-CA-MDL-02130569



From: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent: Friday, May 13, 2022 7:36 PM
To: Lesley Weaver <lweaver@bfalaw.com>; Blume, Robert C. <RBlume@gibsondunn.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Ring, Rose <RRing@gibsondunn.com>; *** Service-FB-CA_MDL <Service-FB-
CA_MDL@gibsondunn.com>
Cc: Daniel Garrie <DGarrie@jamsadr.com>; Anne Davis <adavis@bfalaw.com>; David Ko <dko@kellerrohrback.com>;
Derek Loeser <dloeser@kellerrohrback.com>; Matthew Melamed <mmelamed@bfalaw.com>; Julie Law
<jlaw@bfalaw.com>; Ulmer, Mike M. <MUlmer@gibsondunn.com>
Subject: Re: FB 30(b)(6) - Topic 4 Request for Documents

Lesley,
                                                          3
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1      and I'm not able to provide a full -- I don't -- I        03:39:34

2      don't know the full list of partners where -- where

3      we had arrangements like this.

4              Q.   (By Ms. Weaver)     Who would know?

5              A.   People working on our data partnerships      03:39:51

6      team at the time would know.

7              Q.   And who specifically by name?

8              A.   Fred Leach is one person that comes to

9      mind.

10             Q.   Anyone else?                                 03:40:01

11             A.   He is the main person that -- that comes

12     to mind for me.

13             Q.   Other than the two use cases that you

14     discussed, are you aware of Facebook paying any

15     other third parties for data?                             03:40:16

16                  MR. DAVIS:     Object to the form.

17                  THE DEPONENT:     I -- I don't recall any

18     other -- other instances right now.

19             Q.   (By Ms. Weaver)     Did Facebook ever pay

20     users for their data?                                     03:40:53

21                  MR. DAVIS:     Object to the form.

22                  THE DEPONENT:     Not to my knowledge.

23             Q.   (By Ms. Weaver)     Are you familiar with

24     the Onavo program?

25             A.   No.                                          03:41:16

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1           Q.     Were you prepared, in your deposition            03:41:18

2      testimony today, to discuss Onavo app?

3                  MR. DAVIS:    Object to the form.       Scope.

4                  THE DEPONENT:     No.

5           Q.     (By Ms. Weaver)     Are you aware that           03:41:34

6      Facebook paid users ages 13 to 35 for their mobile

7      data through the Onavo app?

8                  MR. DAVIS:    Object- --

9                  MS. WEAVER:     Well, strike that.      Let me

10     ask a better question.                                       03:41:44

11          Q.     (By Ms. Weaver)     Are you aware that

12     Facebook paid Onavo for data for -- of users ages

13     13 to 35 to follow their mobile data?

14                 MR. DAVIS:    Objection.      Scope.   Form.

15                 THE DEPONENT:     I'm not aware of this.         03:42:02

16          Q.     (By Ms. Weaver)     What is

17     "Facebook Viewpoints"?

18          A.     I'm not familiar with the term.

19          Q.     Do you know a market research app that

20     Facebook launched in 2019 called                             03:42:14

21     Facebook Viewpoints?

22                 MR. DAVIS:    Objection.      Scope.

23                 THE DEPONENT:     No, it doesn't sound

24     familiar.

25          Q.     (By Ms. Weaver)     Do you know if Facebook      03:42:25

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                  Exhibit M
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                                         June 17, 2022

VIA ELECTRONIC MAIL

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          Re: In re Facebook, Inc. Consumer Privacy User Profile Litig.,
              Northern District of California Case No. 3:18-md-02843-VC
              Follow-up to the Topic 4 Deposition

Dear Counsel,

       This letter concerns the May 18, 2022 30(b)(6) deposition of Facebook’s corporate
representative Mike Clark, and responds to Facebook’s June 6th and 15th letters regarding the
same.

        In its letters, Facebook mischaracterizes deposition testimony and ignores prior
correspondence. While we write to correct inaccuracies in Facebook’s correspondence, we hope
that going forward Facebook will dispense with the position statements and engage in a good
faith discussion.

   A. Facebook’s Mischaracterization of the Record

        Facebook mischaracterizes the record to argue that Plaintiffs should have known that
Facebook had narrowed the scope of Topic 4 to its “deletion framework.” June 6, 2022 Letter
from Martie Kutscher Clark (“June 6 Letter”) at 2. As previously explained, Plaintiffs’ May 6
and 8, 2022 emails showed that they did not believe this topic was limited to Facebook’s deletion
framework. May 25, 2022 Letter from L. Weaver at 2. Facebook’s May 8, 2022 email also did
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not disclose Facebook’s intent to narrow the scope of this topic. Rather, the email reiterated that
Facebook would be prepared to testify on “the policies and ‘processes’ Facebook has in place
relating to ‘pseudonymization, de-identification, re-identification, association, and deletion of
User Data and Information.’” The serial comma following “association” makes it clear that this
term was meant to be treated separately and not, as Facebook argues, only in the context of
deletion. See O’Connor v. Oakhurst Dairy, 851 F.3d 69, 70 (1st Cir. 2017) (explaining that
activities separated by a serial comma would clearly be encompassed by the statute). In reality,
Facebook did not disclose its decision to narrow the scope of this Topic until Plaintiffs were in
the middle of questioning the witness. Clark 30(b)(6) Dep. Tr. at 145:2-10.

         Facebook argues that its position should have been clear from review of the documents it
provided in anticipation of this deposition. But these documents concern a variety of Facebook’s
activities and products, including: Facebook’s Privacy Program, App-Scoped IDs, and RIDs.
See, e.g., FB-CA-MDL-00254680, FB-CA-MDL-00254642, ADVANCE-META-00000008,
ADVANCE-META-00000028. Regardless, Plaintiffs should not have to engage in a guessing
game based on the documents Facebook discloses. In the future, if Facebook has unilaterally
narrowed Plaintiffs’ discovery requests, it should expressly say so and not rely on mind-reading.

        Facebook also argues that Mr. Clark was prepared to address “how any data obtained
through a cookie may be associated to a user and pseudonymized, de-identified, and deleted.”
June 6 Letter at 11. But Mr. Clark could not answer basic questions regarding how cookies
functioned. And when asked whether he was prepared to testify “regarding the fpb cookie,
the_fbc cookie,                               , the                 or fr cookies,” Mr. Clark
responded, “as a representative of Facebook, I didn't prepare for that topic.” Clark 30(b)(6) Dep.
Tr. at 134:17-135:2; see also id. at 135:12-20 (stating that Mr. Clark did not prepare to discuss
the datr cookie). Mr. Clark’s admission is shocking, given that Plaintiffs’ May 6 email expressly
identified these cookies as a topic of the deposition.

       In addition, Facebook argues that Plaintiffs did not “explore” the topic of Facebook’s
controls and safeguards regarding pseudonymization, de-identification, reidentification,
association, and deletion. That’s false. Plaintiffs asked Mr. Clark about Facebook’s privacy
controls. E.g. id. at 27:11-22; 30:10-13; 65:23-25. Plaintiffs also spent significant time on
Facebook’s policies regarding pseudonymization and de-identification, such as the
       . Id. at 53:24-54:7; 67:18-22; 97:5-7. A cursory review of the transcript shows
Facebook’s characterization is untrue.

        Further, Facebook asserts—without citing to any specific questions—that Plaintiffs asked
Mr. Clark to “decipher and then explain” what authors of emails and other documents meant.
June 6 Letter at 12. Not so. Plaintiffs never asked Mr. Clark to speculate as to what the author of
a document or email meant. Instead, Plaintiffs asked for Facebook’s understanding of the terms
set out in certain Exhibits. E.g., Clark 30(b)(6) Dep. Tr. at 48:22-23 (“What’s your understanding
of what user data means?”); 78:22-23 (asking if what is reflected in the Exhibit is consistent with
Mr. Clark’s understanding).
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       This letter responds to just some examples of the mischaracterizations made in
Facebook’s June 6 and 15 Letters. In the future, we hope Facebook will engage in a good faith
conversation with Plaintiffs rather than relying on position statements.

       B.      Request for Additional Testimony and Documents

        Plaintiffs have sought additional testimony regarding how Facebook associates and re-
identifies data and information, and how Facebook uses cookies to associate data and track users
on and off the platform. May 18 Letter at 3-4. In response, Facebook has stated that the
additional testimony sought will be covered by the Topic 5 deponents (concerning “systems,
repositories, databases, and other sources . . . containing or referencing any Data that can be
associated with a User.”). June 15 Letter at 1-2. However, Facebook only proposed dates for the
Topic 5 depositions in July. In other words, Facebook will not provide an additional witness on
Topic 4 before the June 30, 2022 deadline imposed by Judge Chhabria. Dkt. No. 941.

        In addition, Facebook has declined to provide the deposition transcript and related
exhibits from Mr. Clark’s deposition to the FTC. Notably, Mr. Clark testified that his testimony
to the FTC concerned “data deletion,” which is the only topic that Facebook admits is within the
scope of Topic 4. Clark 30(b)(6) Dep. Tr. at 20:19. Plaintiffs understand the parties are at
impasse regarding this request.

        Plaintiffs also understand the parties are at impasse regarding Plaintiffs’ request for the
documents Mr. Clark reviewed in preparation for his deposition and that were not identified by
Plaintiffs or Facebook prior to the deposition. Id. at 26:17-23. In response to Plaintiffs’ request,
Facebook has only reiterated that it previously produced a limited set of documents Mr. Clark
was prepared to testify on, as well as the additional wiki pages Plaintiffs requested. Plaintiffs will
thus seek appropriate relief regarding this request.

         Plaintiffs are available to meet and confer, should you wish to discuss any issues raised in
this letter.

                                                      Regards,




                                                      Joshua D. Samra
                                                      jsamra@bfalaw.com
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   1 whether it will be by oral testimony or not and whether

   2 there will be some more time.

   3             THE COURT:    Okay.   And obviously I'm not -- I
   4 haven't read anything about these most recent 30(b)(6)

   5 depositions, so I can't reach any independent conclusion

   6 about whether -- whose fault it is or whatever.

   7       But to the extent that there continue to be the same
   8 kinds of problems with the 30(b)(6) depositions that

   9 occurred before -- that I was privy to that occurred before

  10 with Facebook's witnesses not being prepared to answer

  11 questions that they were on notice, that they needed to

  12 answer or not being familiar with documents that they were

  13 on notice that they needed to answer questions about, what

  14 should I do to try to fix that for any future, you know, new

  15 depositions or redos, re-depositions that take place?

  16       Should I order Facebook's general counsel to be at
  17 every 30(b)(6) deposition for the remainder of this case,

  18 for example?    What --
  19             MR. LOESER:    Fine --
  20             THE COURT:    Again, I don't know, maybe the special
  21 master will conclude that Facebook was not at fault for the

  22 latest problems, right?      But assuming it continues to be
  23 Facebook's fault, it seems to me that some additional

  24 measure needs to be taken to ensure that it stops happening.

  25             MR. LOESER:    I think that's correct, your Honor.




                                                         Echo Reporting, Inc.
